Case 1:24-cv-08760-JMF Documenti Filed 11/16/24 Page1of 70

RALPH W. BAKER, JR
Plaintiff
By: Ralph W. Baker, Jr.

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Brooklyn, NY 11217

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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

oon--- aon wonnee ~------X Case No. RALPH W. BAKER, JR,

Plaintiff, COMPLAINT
JURY TRIAL |
DEMANDED aos :

-against-

Nikole Hannah-Jones, [bram X. Kendi, Keisha Blain, Ta-Nehisi P. Coates, Jason Reynolds, The
New York Times Company, Bertelsmann SE & Co. KGaA, Hachette Livre, Lions Gate
Entertainment Corp., Trevor Noah, Paramount Global, Roger Ross Williams, Shoshana Guy, Ms.
Oprah Winfrey, Jelani Cobb, Kamilah Forbes, Chris Jackson, Nicole Counts, Victoria Matsul,
The Walt Disney Company, Netflix, Inc. Claudia Rankine, Nikky Finney, Vievee Francis,
Dorothy Roberts, Terrance Hayes, Khalil Gibran Muhammad, Ysef Komunyakaa, Eve L. Ewing,
Leslie M. Alexander, Michelle Alexander, Barry Jenkins, Jesmyn Ward, Matthew Desmond,
Jamelie Bouie, Martha 8. Jones, Tim Siebles, Lynn Nottage, Darryl Pinckney, Carol Anderson,
Bryan Stevenson, A. Van Jordan, Terry Mcmillan, Kevin Kruse, Clint Smith, Tiya Miles,
William Barber I], Donna Brazile, Kiese Laymon, Pamela Newkirk, Adam Serwer, Isabel
Wilkerson, Robin D.G. Kelly, William A. Darity, Sherrilyn Ifill, Imani Perry, Peniel Joseph,
Keemanga-Yamahta Taylor, Angela Davis, Alicia Garza, Michael Harriott, Carles E. Cobb, Jr.,
Fanonne Jeffers, Dwayne Betts, Robert Jones, Jr., Howard University, The 1619 Freedom
School, Center For Journalism & Democracy, Boston University, Center for Antiracist Research,
University of Pittsburgh, Brown University, Massachusetts Institute of Technology, Craig
Newmark School of Journalism at the City University of New York, New York University,
Columbia University, University of South Carolina, Dartmouth College, University of
Pennsylvania, Harvard University, Rutgers University, Tulane University, Princeton University,
Johns Hopkins University, Old Dominion University, Emory University, Stanford University,
University of California, Los Angeles, Duke University, Legal Defense Fund, The University of
Texas at Austin, Northwestern University, University of California, Santa Cruz, University of
Chicago, Yale University, Rice University, University of Oklahoma

Case 1:24-cv-08760-JMF Documenti Filed 11/16/24 Page 2of 70

Defendants.

Plaintiff Ralph W. Baker, Jr. as and for his Complaint against defendants Nikole Hannah-

Jones, (Hannah-J ones"), Tbram Xx. Kendi, i, Keisha Blain, Ta-Nehisi P. Coates, Jason Reynolds,
“The New von Ti Times Company, Bertelsmann SE & Co. KGaA, Hachette Livre, Lions Gate
Entertainment Corp., Joel Christian Gill, Trevor Noah, Paramount Global, Roger Ross Williams,
Shoshana Guy, Ms. Oprah Winfrey, Jelani Cobb, Kamilah Forbes, Chris Jackson, Nicole Counts,
Victoria Matsui, The Walt Disney Company, Netflix, Inc. Claudia Rankine, Nikky Finney,
Vievee Francis, Dorothy Roberts, Terrance Hayes, Khalil Gibran Muhammad, Ysef
Komunyakaa, Eve L. Ewing, Leslie M. Alexander, Michelle Alexander, Barry Jenkins, Jesmyn
Ward, Matthew Desmond, Jamelle Bouie, Martha S. Jones, Tim Siebles, Lynn Nottage, Darryl
Pinckney, Carol Anderson, Bryan Stevenson, A. Van Jordan, Terry Mcmillan, Kevin Kruse,
Clint Smith, Tiya Miles, William Barber II, Donna Brazile, Kiese Laymon, Pamela Newkirk,
Adam Serwer, Isabel Wilkerson, Robin D.G. Kelly, William A. Darity, Sherrilyn Ifill, Imani
Perry, Peniel Joseph, Keemanga-Yamahta Taylor, Angela Davis, Alicia Garza, Michael Harriott,

Charles E. Cobb, Jr., Fanonne Jeffers, Dwayne Betts, Robert Jones, Jr. Howard University, The

1619 Freedom School, Center For Journalism & Democracy, Boston University, Center for M

Antiracist Research, University of Pittsburgh, Brown University, Massachusetts Institute of
Technology, Craig Newmark School of Journalism at the City University of New York, New
York University, Columbia University, University of South Carolina, Dartmouth College,
University of Pennsylvania, Harvard University, Rutgers University, Tulane University,
Princeton University, Johns Hopkins University, Old Dominion University, Emory University,

Stanford University, University of California, Los Angeles, Duke University, Legal Defense

2

Case 1:24-cv-08760-JMF Documenti Filed 11/16/24 Page 3of 70

Fund, The University of Texas at Austin, Northwestern University, and University of California,
Santa Cruz, the University of Chicago, Yale University, Rice University, University of

Oklahoma alleges as follows:

PRELIMINARY STATEMENT

Pursuant to 17 U.S. Code § 501 — Infringement of copyright states anyone who violates any of
the exclusive rights of the copyright owner as provided by sections 106 through 122 or imports
copies into the United States in violation of section 602 is an infringer of copyright or right of the
author. Plaintiff also brings this Complaint for direct copyright infringement, vicarious copyright
infringement, and unjust enrichment, violations of the New York and common law unfair
competition laws, the Lanham Act, New York General Business Law§§ 349, 350 and 368-d, and

negligence.

L. This is an action for inter alia, (1) the willful copyright infringement in Nikole Hannah
Jones’ books, articles, movies, documentaries and derivative works, including but not limited to,
the August 2019 New York Times Magazine articles titled, “The 1619 Project,” The 1619
Project: A New Origin Story, the podcast series “Listen To ‘1619,”” The 16/9 Project: Born on
the Water, The 1619 Project: A Visual Experience, and the Hulu docuseries, “The 1619 Project,”
collectively, “1619 plagiarized works” and (2) the willful copyright infringement in [bram X.
Kendi’s books, articles, movies, documentary and derivative works, including but not limited to,
Stamped from the Beginning, Stamped: Racism, Antiracism, and You: A Remix of the National
Book Award-winning Stamped from the Beginning, Stamped (for Kids), STAMPED FROM THE
BEGINNING A Graphic History of Racist Ideas in America, documentary “Stamped from the

Beginning” (Netflix), FOUR HUNDRED SOULS A Community of African America, 1619-2019,

Case 1:24-cv-08760-JMF Documenti Filed 11/16/24 Page 4of70

collectively, the “Kendi plagiarized works.” The 1619 plagiarized works and the Kendi
plagiarized works are together, the “plagiarized works.”

2. Without authorization, Ms. Hannah-Jones and Kendi copied portions of Ralph W. Baker,
Jr.’s Shock Exchange: How Inner-City Kids From Brooklyn Predicted the Great Recession and
the Pain Ahead (“Shock Exchange”).

3. Plaintiff alleges that over nearly a decade, Ms. Hannah Jones, Kendi and their co-
conspirators deconstructed Shock Exchange. They copied several ideas and Plaintiff's
expressions of ideas, and copied the structure and pattern of Shock Exchange and meticulously,
methodically attempted to avoid detection.

4. Throughout the plagiarized works, defendants mimicked Plaintiff's dense, rhythmic prose
—*Shock Exchange thythmic prose and tedious talk,” copied the order of words in Plaintiff's
literary composition, and copied Plaintiff's arrangement of words. The actions of Ms. Hannah-
Jones and Kendi represent copyright infringement.

5. Shock Exchange was investigated and written by Plaintiff Ralph W. Baker, Jr. Plaintiff
understands Ms. Hannah Jones received a bachelors degree from the University of Notre Dame
and a master of arts degree from the University of North Carolina.

6. Plaintiff understands she began her career in 2003 as an education reporter in Raleigh,
NC. Ms. Hannah Jones spent six years at a newspaper in Portland, OR and joined ProPublica in
2011 where she became known for investigative reporting on education.

7. Ms. Hannah Jones joined The New York Times as a staff writer in 2015. She wrote the
1619 Project in 2019; backed by the bullhorn of the New York Times, Ms. Hannah-Jones was
awarded the Pulitzer Prize. The project was criticized by historians like Gordon 8. Wood (Brown

University) and Ailen C. Guelzo (Princeton University) for being ahistorical.

Case 1:24-cv-08760-JMF Documenti Filed 11/16/24 Page 5of 70

8. Hannah-Jones is the Knight Chair in Race and Journalism at the Howard University
School of Communications, and founded and leads the Center for Journalism and Democracy.

9, Plaintiff understands from 2009-2015 Kendi was an assistant professor of Africana
Studies at various colleges and universities. From 2015 to 2017 he was assistant professor of
African American Studies at the University of Florida. Kendi won the National Book Award for
Fiction in 2016. In 2017 Kendi became a professor of history at American University and
founded the Antiracist Research and Policy Center at American University.

10. In 2020 Kendi joined Boston University as a history professor and founded the Boston
University Center for Antiracist Research.

11. Shock Exchange was published electronically in August 2012. A print version was
completed November 2012. Shock Exchange was reviewed by Library Journal in 2013 — only
the second time in history a self-published book was reviewed by a major book reviewer.

12. Plaintiff sent a copy of Shock Exchange to Cobb in 2013 when he was professor at the
University of Connecticut. Plaintiff never heard back from Cobb, but apparently, he liked it ....a
whole lot. Cobb contributed to the 1619 plagiarized works. Plaintiff sent Keisha Blain a copy of
Shock Exchange in July 2015.

13. Ms. Blain acknowledged receipt of Shock Exchange in August 2015. Ms. Blain co-owns
the copyright to FOUR HUNDRED SOULS FOUR HUNDRED SOULS A Community of African
America, 1619-2019 (“Four Hundred Souls”) with Kendi. Ms. Blaine and Kendi copied the
pattern of structure of Shock Exchange throughout 400 Hundred Souls, and mimicked Shock
Exchange rhythmic prose and tedious talk, copied the order of words in Plaintiff's literary

composition, and copied Plaintiff's arrangement of words.
Case 1:24-cv-08760-JMF Documenti Filed 11/16/24 Page 6of 70

14, On September 19, 2022 Mr. Baker filed a complaint in the Southern District of New
York against Ta-Nehisi Coates for the wholesale copying of Shock Exchange (Baker v. Coates et
al, 22-CV-7986 (JPO)). Within weeks of the filing, Cobb and Ms. Hannah-Jones deleted all
tweets related to Coates, destroying evidence relative to the Complaint, and Ralph W. Baker, Jr.
v. Ta-nehisi P. Coates, et al, 23-7483-cv. This is evidence tampering pursuant to 18 U.S. Code §
1519, which prohibits “the destruction alteration, or falsification of records, documents, or
tangible objects in relation to federal investigations or bankruptcy.”

18. Under New York Penal Law § 215.40(2) a person is guilty of tampering with physical
evidence if he/she intends to “prevent the production or use of physical evidence in an official
proceeding.” Here, Plaintiff asks Cobb and Ms. Hannah-Jones to produce all deleted evidence
related to the Complaint, the plagiarized works and any defendants pursuant to this action.

16. In November 2022 Cobb made his Twitter account private under the guise of “rage
quitting” after Elon Musk reinstated the Twitter account of former President Donald Trump. Ms.
Hannah-Jones surmised aloud that she may also have to quit Twitter. It also piqued Plaintiffs
interest into Cobb, Ms. Hannah-Jones, and other Coates “agents.”

17. Plaintiff began a painstaking investigation into Ms. Hannah-Jones, Kendi and Cobb.
Due diligence revealed pursuant to the 1619 plagiarized works, Ms. Hannah-Jones copied the
structure and pattern of Shock Exchange and added thousands of words on slavery as a crude
effort to create the appearance of dissimilarity.

18. Plaintiff alleges throughout the 1619 plagiarized works that Ms. Hannah-Jones (and
others) mimicked Shock Exchange rhythmic prose and tedious talk, copied the order of words in

Plaintiff's literary composition, and copied Plaintiffs arrangement of words.

‘ Jelani Cobb, “Why J Quit Elon Musk’s ‘Fwitter,” The New Yorker, November 27, 2022.

6

Case 1:24-cv-08760-JMF Documenti Filed 11/16/24 Page 7 of 70

19. Pursuant to the Kendi plagiarized works, Kendi copied the pattern and structure of Shock
Exchange and added thousands of words about racism and antiracism as a crude effort to create
the appearance of dissimilarity.

20. Plaintiff alleges that over the course of nearly decade Ms. Hannah Jones and Kendi
copied a substantial portion of Shock Exchange, and meticulously tried to mask the piracy.

21. The New York Times Magazine, owned by The New York Times Company, through The
New York Times, published “The 1619 Project” as a series of articles beginning in August 2019.
The New York Times Company has been publicly silent.

22, The New York Times Company continues to profit from sales of The 1619 Project: A
New Origin Story, the podcast series “Listen To ‘1619,”” The 1619 Project; Born on the Water,
The 1619 Project: A Visual Experience, and the Hulu docuseries, “The 1619 Project” via book
sales, advertising revenue, subscription fees, et al. The New York Times Company has been
publicly silent.

23. Penguin Random House, owned by Bertelsmann SE & Co. KGaA (“Bertelsmann”),
published The 1619 Project: A New Origin Story, The 1619 Project: Born on the Water, and 400
Hundred Souls. Bertelsmann continues to profit from sales of these plagiarized books and has
not denounced Ms. Hannah-Jones or Kendi for their theft.

24, The 1619 Project: A Visual Experience was published by Clarkson Potter, an imprint of
Crown Publishing Group (“Crown”). Crown is owned by Bertelsmann. Bertelsmann continues to
profit from the sale of Ms. Hannah-Jones’ plagiarized books and has not denounced Ms. Hamnah-
Jones for her theft.

25. Stamped from the Beginning, Stamped: Racism, Antiracism, and You: A Remix of the

National Book Award-winning Stamped from the Beginning, and Stamped (For Kids): Racism,

Case 1:24-cv-08760-JMF Documenti Filed 11/16/24 Page 8of 70

Antiracism, and You were all published by Hachette Book Group, owned by Hachette Livre
(“Hachette”). Hachette continues to profit from the sale of these plagiarized works and has not
denounced Kendi for his theft.

26. STAMPED FROM THE BEGINNING A Graphic History of Racist Ideas in America was
published by an imprint of Crown, owned by Bertelsmann. Bertelsmann continues to profit from
the sale of this plagiarized material and has not denounced Kendi or the book’s co-owner, Joel
Christian Gill, for their theft,

27. The Walt Disney Company is the majority owner of Hulu, which distributed the
docuseries “The 1619 Project.” The Walt Disney Company continues to profit from sale and
distribution of the docuseries. It has not denounced Ms. Hannah-Jones or the New York Times
Company for their theft.

28. Lions Gate Television Inc. owns the copyright for docuseries “The 1619 Project.” Lions
Gate Entertainment Corp. (“Lions Gate”), which owns Lions Gate Television Inc., continues to
profit from sales of the docuseries. Lions Gate has been publicly silent. It has not denounced Ms.
Hannah-Jones or the New York Times Company for their theft.

29, Netflix Worldwide Entertainment, LLC owns the copyright for the documentary
STAMPED FROM THE BEGINNING A Graphic History of Racist Ideas in America, Netflix,
Inc. (“Netflix”), which owns Netflix Worldwide Entertainment, LLC, continues to profit from
sales, advertising and subscription revenue pursuant to the documentary. Netflix has been

publicly silent. It has not denounced Kendi for his theft.

PARTIES

Case 1:24-cv-08760-JMF Documenti Filed 11/16/24 Page9of 70

30. Ms. Hannah-Jones (“defendant”) is the Knight Chair in Race and Journalism at Howard
University School of Communications, and leads the Center for Journalism and Democracy.
Upon information and belief she resides in Brooklyn, NY.

31.  Tbram X. Kendi (“Kendi” or “defendant”) is a history professor at Boston University and
founder of the Boston University Center for Antiracist Research. Plaintiff understands Kendi
owns or co-owns the copyright for the Kendi plagiarized works except for the Netflix

documentary.

32. Keisha Blain (“defendant”) is professor of Africana Studies and History at Brown
University. Plaintiff understands she co-owns the copyright for Four Hundred Souls.

33. Ta-Nehisi P. Coates (“Coates” or “defendant”) is writer-in-residence at Howard
University and holds the Sterling Brown chair in the English Department. Plaintiff understands
Coates attended Howard University with Kamilah Forbes and Jelani Cobb, and formerly worked
at The Washington City Paper with Cobb, Plaintiff understands Coates co-wrote The Water
Dancer (“Water Dancer’), published by One Word (imprint of Penguin Random House) in 2019,
with editors Chris Jackson, Nicole Counts and Victoria Matsui.

34. Jason Reynolds (“Reynolds” or “defendant”’) is an author and poet. Plaintiff understands
Reynolds co-wrote Stamped: Racism, Antiracism, and You: A Remix of the National Book
Award-winning Stamped from the Beginning with Kendi. Reynold’s co-owns the copyright to the
book.

35. The New York Times Company (or “defendant”) is mass media company that publishes
The New York Times and its associated publications, and other media properties. The New York

Times Company owns the copyright for The 1619 Project: A New Origin Story, and The 1619
Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 10 of 70

Project: Born On The Water. The purported mission of The New York Times is, “We seek the
truth help people understand the world.”

36. Bertelsmann SE & Co. KGaA (“Bertelsmann” or “defendant”) is a leading “media,

services and education company” with operations in about 50 countries. Its operations include
the entertainment group RTL Group, Random House, the music group BMG, the service
provider Arvato, printing, education and investment services.

37. Hachette Livre (“Hachette” or “defendant”) is a French publishing group located in Paris
France.

38. Lions Gate (or “defendant”) is a Canadian-American entertainment company
headquartered in Santa Monica, CA.

39, Trevor Noah (“defendant”) is a comedian, writer, producer, actor, and television host. He
previously hosted The Daily Show on Comedy Central from 2015 to 2022.

40. Paramount Global is an American multinational mass media and entertainment
conglomerate, which also owns Comedy Central.

41. Roger Ross Williams (“Ross Williams” or “defendant”) is an executive producer for the
1619 docuseries on Hulu, and an executive producer for the TV adaptation of Coates’ Between
the World and Me on HBO.

42, Shoshana Guy (or “defendant”) is the showrunner for the 1619 docuseries on Hulu.

43, Ms. Oprah Winfrey (“Ms. Winfrey” or “defendant”) is an executive producer for the
1619 docuseries on Hulu. Ms Winfey also owns the movie rights and/or production rights for
Water Dancer.

44, Jelani Cobb “Cobb” or “defendant”) is the Dean of Journalism at Columbia University.

2 hitps://www.nytco.com/company/mission-and-values/

10
Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 11of 70

45. Kamilah Forbes (“defendant”) is the executive producer at The Apollo. She directed the
sold-out world premiere and tour of the theatrical adaptation of Between the World and Me at the
Apollo, the Kennedy Center and Atlanta Symphony Hall. Ms. Forbes is executive director of
HBO’s TV adaptation of the book. Alongside Coates and his wife, Kenyatta Matthews, Ms.
Forbes is a collaborator in the production company Macco-Lyn. Ms. Forbes is expected to be
executive producer on Water Dancer movie adaptation.

46. Chris Jackson (“Jackson” or “defendant”) is vice president, publisher and editor-in-chief
of Random House’s One World imprint. One World has published books for Coates, Kendi and
Ms. Hannah-Jones. Chris Jackson co-wrote Water Dancer with Coates, Nicole Counts and
Victoria Matsui.

47, Nicole Counts (“Counts” or “defendant”) is Senior Editor of One World. She co-wrote

Water Dancer with Coates, Chris Jackson and Victoria Matsui.

48. Victoria Matsui (“Matsui” or “defendant”) was previously a senior publishing manager
at One World.
49, The Walt Disney Company (“Disney” or “defendant”) is an American mass media and

entertainment company headquartered in Burbank, CA.

50. ‘Netflix, Inc. (“Netflix” or “defendant”) is an American media company that offers a
streaming service and video-on-demand. Netflix is headquartered in Los Gatos, CA. adaptation
of The Water Dancer.

51. Claudia Rankine (“defendant”) is a poet and professor in the Creative Writing Program
at New York University.

52. Nikki Finney (“defendant”) is a poet and professor of English at the University of

Kentucky.

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Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 12 of 70

53. Vievee Francis (“defendant”) is a poet and associate professor of English and creative
writing at Dartmouth College.

54. Dorothy Roberts (“defendant”) is a law professor at the University of Pennsylvania.
55. Terrance Hayes (“defendant”) is a poet and teacher at New York University.

56. Khalil Gibran Muhammad (“defendant”) is an African American studies professor at
Princeton University.

57. Ysef Komunyakaa (“defendant”) is a poet and teacher at New York University.

58. Eve L. Ewing (“defendant”) is an author and professor at the School of Social Service
Administration at the University of Chicago.

59. Leslie M. Alexander (“defendant”) is a professor of history at Rutgers University.

60. Michelle Alexander (“defendant”) is an author, attorney and civil rights activist.

61. Barry Jenkins (“defendant”) is an American filmmaker.

62. Jesmyn Ward (“defendant”) is an author and English professor at Tulane University.
63. Matthew Desmond (“Desmond” or “defendant”) is an author and sociology professor at
Princeton University.

64. Jamelle Bouie (“defendant”) is a columnist for the New York Times.

65. Martha S. Jones (“defendant”) is a history professor at Johns Hopkins University.

66. Tim Seibles (“defendant”) is a poet and English professor at Old Dominion University.
67. Lynn Nottage (“defendant”) is an award-winning American playwright.

68. Darryl Pinckney (“defendant”) is a novelist and playwright.

69. Carol Anderson (“defendant”) is a professor of African American studies at Emory

University.

12

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 13 of 70

70. Bryan Stevenson (“defendant”) is a lawyer and law professor at New York University
school of law.

71. A. Van Jordan (“defendant”) is a poet and professor at Stanford University.

72. Terry McMillan (“defendant”) is an American novelist.

73. Kevin Kruse (“defendant”) is a history professor at Princeton University.

74. — Clint Smith (“defendant”) is an author and poet and winner of the 2021 National Book
Critics Circle Award for Nonfiction.

75,  Tiya Miles (“defendant”) is a history professor at Harvard University.

76. William Barber II (“defendant”) is a minister and founding director of the Center for
Public Theology & Public Policy at Yale Divinity School.

77. Donna Brazile (“defendant”) is a political strategist and campaign manager.

78.  Kiese Laymon (“defendant”) is an author and an English and creative writing professor at
Rice University.

79. Pamela Newkirk (“defendant”) is a journalism professor at New York University.

80. Adam Serwer (“defendant”) is a staff writer for The Atlantic.

81. Isabel Wilkerson (“defendant”) is an author an winner of the Pulitzer Prize in journalism
and the National Book Critics Circle Award for Nonfiction.

82. Robin D.G. Kelly (“defendant”) is a historian and history professor at the University of
California, Los Angeles.

83. William A. Darity (“Darity” or “defendant”) is a professor of pubic policy, African

American studies and economics at Duke University.

13

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 14 of 70

84. Sherrilyn Ifill (“defendant”) is a law professor, the Vernon E. Jordan, Jr., Esq. Endowed
Chair in Civil Rights at Howard University, and former president of the NAACP Legal Defense
Fund.

85. Imani Perry (“defendant”) is professor in Studies of Women, Gender, and Sexuality, and
in African and African American Studies at Harvard University.

86.  Peniel Joseph (“defendant”) is a professor of history and public affairs at the University
of Texas at Austin.

87. | Keemanga-Yamahta Taylor (“Taylor” or “defendant”) is an African American studies
professor at Princeton University.

88. Angela Davis (“defendant”) is director of the feminist studies department at the
University of Los Angeles, Santa Cruz.

89. Alicia Garza (“defendant”) is co-founder of Black Lives Matter.

90. Michael Harriot (“Harriot” or “defendant”) is a columnist for thegrio.com

91. Charles E. Cobb, Jr. (“defendant”) is a journalist and visiting professor at Brown
University.

92. Fanonne Jeffers (“defendant”) is a poet, novelist and English professor at the University
of Oklahoma.

93. Dwayne Betts (“defendant”) is a poet and legal scholar.

94. Robert Jones, Jr. (“defendant”) is a novelist and public speaker.

95. The 1619 Freedom School (“defendant”) is an after-school literacy program based in

Waterloo, IA. The school was started by Ms. Hannah-Jones.

14
Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 15 of 70

96. Center For Journalism & Democracy (“defendant”) purports to use “traditions of the
Black press” to shape American media. It was founded by Ms. Hannah-Jones and is located at
Howard University.

97. Center for Antiracist Research (“defendant”) was founded by Kendi and is located at
Boston University.

98. Howard University (“defendant”) is a private federally chartered research institution
located in Washington, DC.

99. Boston University (“defendant”) is a private [vy League research university located in
Providence, Ri.

100. University of Pittsburgh is a state-funded university in Pittsburgh, PA.

101. Massachusetts Institute of Technology (“MIT”) is a private research university in
Cambridge, MA.

102. Craig Newmark School of Journalism at the City University of New York (“Newmark
School of Journalism” or “defendant”) is a public graduate journalism school in New York city.
103. New York University (“NYU” or “defendant”) is a private research university in New
York city.

104. Columbia University (“Columbia” or “defendant”) is a private Ivy League research
university in New York city.

105. University of South Carolina (“defendant”) is a public university in Columbia, SC.
106. Dartmouth College (“Dartmouth” or “defendant” is a private Ivy League research
university in Hanover, NH.

107. University of Pennsylvania (“defendant”) is a private Ivy League university in

Philadeiphia, PA.

15

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 16 of 70

108. Harvard University (“Harvard” or “defendant”) is a private Ivy League research
university located in Cambridge, MA.

109. Rutgers University (“Rutgers” or “defendant”) is a state college located in New Jersey.
110. Tulane University (“Tulane” or “defendant”) is a private research university in New
Orleans, LA.

111. Princeton University (“Princeton” or “defendant”) is a private Ivy League research
university in Princeton, NJ.

112. Johns Hopkins University (“Johns Hopkins” or “defendant”) is a private research
university in Baltimore, MD.

113. Old Dominion University (““ODU” or “defendant”) is a public research university in
Norfoik, VA.

114. Emory University “Emory” or “defendant” is a private research university in Atlanta,
GA.

115. Stanford University (“Stanford” or “defendant”) is a private research university in
Stanford, CA.

116. University of California, Los Angeles “UCLA” or “defendant”) is a public research
university in Los Angeles, CA.

117. Duke University (“Duke” or “defendant”) is a private research university in Durham, NC.
118. Legal Defense Fund (“defendant”) is a legal organization that fights for racial justice
headquartered in Washington, DC.

119. The University of Texas at Austin (“defendant”) is a public research university in Austin,
TX.

120. Northwestern University (“Northwestern” or “defendant”) is

16

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 17 of 70

121. University of California, Santa Cruz (“UC-Santa Cruz” or “defendant”) is a public land-
grant university in Santa Cruz, CA.

122. University of Chicago (“defendant”) is a private research university in Chicago, IL.

123. Yale University (“Yale” or “defendant”) is a private Ivy League research university in
New Haven, CT.

124. Rice University (“Rice” or “defendant”) is a private university in Houston, TX.

125. University of Oklahoma (“defendant”) is a public research university in Norman, OK.

126. Mr. Baker resides in Brooklyn, New York. He owns copyright registration

TXu001822615 for Shock Exchange, registered with the United States Copyright office August
1, 2012.

127. JOHN DOES 1-50, upon information and belief, are individuals and/or entities, related
to the facts, allegations and causes of action, presently unnamed but who may be named as
additional defendants as a result of discovery, investigation, or other legal endeavors directed at,

inter alia, the assessment of their respective or joint liabilities.

JURISDICTION AND VENUE

128. This action arises under 17 U.S.C. § 101, et seq. for defendants’ authorship, publication,

and sale of The Water Dancer, Between the World and Me, We Were Eight Years In Power,
Black Panther comic book, Captain America comic book, various articles for The Atlantic and
Black Panther movie in violation and infringement of Plaintiff's copyright in Shock Exchange.
129.  Injunetive relief, profits and actual damages or statutory damages are sought pursuant to
17 U.S.C. §§ 502-504.

130. Costs, plaintiff's time and efforts and attorneys’ fees are sought pursuant to

17 U.S.C. § 505,

17
Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 18 of 70

131. The court has jurisdiction of this action pursuant to 28 U.S.C. § 1331.

132. Venue in this Court is proper pursuant to U.S.C. § 1391 (b).

~ FACTUAL BACKGROUND PURSUANT TO THE PLAGIARIZED WORKS

133. Water Dancer was written by Coates and One World editors Chris Jackson, Nicole
Counts, and Victoria Matsui. They confessed to (i) stealing Plaintiff's identity and his "special
knowledge" (ii) copying Plaintiff's language, word choice, literary writing style, and arrangement
of words, (iii) forging documents, and (iv) going through pains to mask the piracy — See Exhibit
A. The Second Circuit ruled rap lyrics are may be properly admitted at trial “where they are
relevant and their probative value is not substantially outweighed by the danger of unfair
prejudice.” U.S. v. Pierce, 785 F.3d 832, 841(2d Cir. 2015). The confession establishes the
element of a crime, and proves motive and intent, "You can certainly not say when somebody
writes about killing snitches, that it doesn't make the fact that they may have killed a snitch more

probable .... " U.S. v. Stuckey, 253 F. App’x 468 (6th Cir. 2007).

134. Coates, Chris Jackson, Nicole Counts and Victoria Matsui confessed to being part of an
army of secret agents — Ms. Hannah-Jones, Kendi, Cobb, Matthew Desmond, Darity, et al. — at
war with the Plaintiff. Ms. Hannah-Jones and Cobb have attempted to cut Coates loose, in
Coates’ recent writings he described Ms. Hannah-Jones as “my homegirl” and confessed to
collaborating with her on The 1619 Project, and claimed he watched her build the project, and
that she sent him “texts with highlighted pages from history books” — See Exhibit A.

135. Coates’ recent confession serves as a double entendre of sorts. He (i) wanted Plaintiff and
the Court to know that The 1619 Project was also plagiarized, and (ii) signaled to Ms. Hannah-
Jones, Cobb (and other agents) that if he went down for the wholesale copying of Shock

Exchange, he would not go alone.

18

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 19 of 70

136. The confession establishes the element of a crime, and provides “proof of motive,
opportunity, intent, preparation, plan, knowledge, identity, or absence of mistake or accident .. ."

U.S. v. Stuckey, 253 F. App'x 483 (6th Cir. 2007). U.S. v. Stuckey also held that, “You can

certainly not say when somebody writes about killing snitches, that it doesn't make the fact that

they may have killed a snitch more probable ...." U.S. v. Stuckey, 253 F. App'x 468 (6th Cir.

2007).

FACTUAL BACKGROUND TO THIS ACTION PURSUANT TO “THE 1619 PROJECT”
ESSAYS

A. “The 1619 Project” Represents Comprehensive Non-Literal Similarity

137... Professor Nimmer Professor Nimmer distinguishes between two types of similarity: (1)
comprehensive nonliteral similarity and (2) fragmented literal similarity. “’ Comprehensive
nonliteral similarity’ best describes the situation ‘where the fundamental essence and structure of
one work is duplicated in another.’ While comprehensive similarity is present, there is no word
for word or other literal similarity. If such duplication or structure or essence is literal or
verbatim, then clearly substantial similarity results. Importantly, the mere fact that a defendant
has paraphrased rather than literally copied will not preclude a finding of substantial similarity.”
Feder, 697 F. Supp. at 1172. Plaintiff also “succeeds under this doctrine when it shows that the
pattern or sequence of the two works is similar.” Arica, 970 F.2d at 1073.

138. Although Plaintiff understands Professor Nimmer’s copyright infringement doctrine of
“comprehensive non-literal similarity” to be far less well known than the doctrine of fragmented
literal similarity (the latter of which includes only verbatim copying), the Second Circuit in Arica
expressly adopted Professor Nimmer’s doctrine of comprehensive non-literal similarity.

139, Ms. Hannah-Jones and her other agents — Mary Elliott, Jazmine Hughes, Matthew

Desmond, Jamelle Bouie, et al. — copy the pattern and structure of Shock Exchange’s expression

19

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 20 of 70

on various topics, running afoul of comprehensive non-literal similarity. Arica. They then several
pages about slavery as a crude effort to create the appearance of dissimilarity — See Exhibit B.

Business Trends Analysts v. Freedonia Group, 887 F.2d 399 (2d Cir. 1989).

140. The “1619 Project” does represent fair use. Defendants not only copied the most-
important parts of Shock Exchange, the practically copied the entire book with the goal of

superseding it. Folsom v. Marsh, 9 F. Cas. 342 (1841). Pursuant to 17 U.S. Code § 107, factors

considered in determining fair use of a work include the purpose and character of the use,
amount and substantiality of the portion used, and the effect of the use on the potential market or
value of the copyrighted work.

141. The concepts and ideas in Shock Exchange, and the way the ideas are arranged are

original and creative. Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340 (1991). The

concepts espoused in Shock Exchange are consistent with this lived experience, and/or his
explanation on how the economy works and the measures policymakers need to take to fix it.
Plaintiff predicted the next recession and why, and that social unrest occurring in North Africa
and China would metastasize to the U.S. and why. These predictions are happening as Shock
Exchange predicted. Shock Exchange is one of two self-published books in history ever to have
been reviewed by a major book reviewer; there was nothing in the marketplace like Shock
Exchange before it was published. Shock Exchange is “special.” Coates, Chris Jackson, Nicole
Counts, and Victoria Matsui confessed to copying Plaintiff's “special knowledge.” (Cmplt.
Exhibit A).

142. “The 1619 Project” is not designed for critique or commentary. It was created for a profit
motive only. The essays and the New York Times Magazine including the essays have been best

sellers. They transformed Ms. Hannah-Jones as into a media darling. The New York Times

20
Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 21 of 70

Company shoe-horned the project into school curricula throughout the country and refused to
remove these plagiarized works even afier they were criticized by historians as “ahistorical.” The
New York Times Company also helped greenlight the Pulitzer Prize for Ms. Hannah-Jones.

143. The project destroyed the market for Shock Exchange and the marketability of Plaintiffs
future work. Coates, Chris Jackson, Nicole Counts and Victoria Matsui confessed that their
stated goal was to destroy Plaintiff and his work ~ “Soon this became a regular labor ... each
week I fitted myself to the costume ... I nearly loved them. My work demanded no less: | must
reach beyond all my particular hatred and pain, see them in their fullness, and then, with my pen,
strike out and destroy them ... We returned the documents edited and augmented. Our forgeries
encouraged feuds ... My anger was now free and ranged beyond Maynard and my father, aimed

now at all Virginia ...” U.S, v. Stuckey, 253 F. App’x 468 (6" Cir. 2007). (Cmplt. Exhibit A).

144. Ms. Hannah-Jones structures her essay as a memoir — as if she had formerly been a slave
girl. This mirrors Shock Exchange which was also a memoir. Ms. Hannah-Jones tries to create
the total concept and feel of Shock Exchange by meticulously, methodically describing her

family to mirror Plaintiffs description of his grandparents and his father. Roth Greeting Cards v.

United Card Co., 429 F.2d 1106 (9 Cir, 1970). (Cmplt. Exhibit B, ff LIV). Ms. Hannah-Jones

make up a narrative that her father spent his youth in Jim Crow Mississippi, which had a near-
majority black population, similar to how Prince Edward County, VA was 68% black. (Cmplt.
Exhibit B, {4 I-I]). Actually, her father spent his youth in Waterloo, JA after his family left
Mississippi at age 2: “Milton Hannah, then 27, had pale eyes and a sad smile. He live in
Waterloo, on the East Side, where his family had settled after leaving Mississippi when he was 2

years old.”

3 Marc Weitzmann, The Making of Nikole Hannah-Jones, Tablet Magazine, September 28, 2022.

21

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 22 of 70

145. About 91% of Iowa’s population is white — the country’s seventh largest — behind
Maine, Vermont, West Virginia, New Hampshire, Idaho and Wyoming.*

146. Ms. Hannah-Jones describes the special way she pronounced her grandmother’s name
(“Grandmama”), how her grandmother lived in a segregated section of Waterloo, and her
father’s time in the military. There is little to no mention of her mother or her mother’s side of
the family in Ms. Hannah-Jones’ memoir. She amplifies those facts — and arranges them — to
mimic Plaintiff’s description of his family. Ms. Hannah-Jones clearly uses Plaintiff's plan and

atrangement in imitating the description of is family. Nutt v. National Institute Incorporated for

the Improvement of, 31 F.2d 236 (2d Cir. 1929).

147. “The 1619 Project” copies the pattern and structure of Plaintiff's description of (1)
Reconstruction, (ii) social unrest, riots, uprisings and clashes with the police, (iii) Newt Gingrich
and the Republican Revolution of the early ‘90s, (iv) redlining, the housing market and housing
wealth, (vi) bailouts and financial crises, (vii) banking regulation, mortgage-backed securities,
and Glass-Steagall, the black church, and mass incarceration.

148. Ms. Hannah-Jones copied the pattern and structure of Plaintiff's language — Shock
Exchange rhythmic prose and tedious talk. Arica. Defendant copied the order of words in

Plaintiff's literary composition and Plaintiff's arrangement of words. Jefferys v. Boosey, 4

H.L.C. 815, 867, Holmes v. Hurst, 174 U.S. 82(1899), Nutt v. National

Institute Incorporated for the Improvement of Memory, 31 F.2d 236 (2d Cir. 1929).

149. Ms. Hannah-Jones’ language through her essays is incoherent and has no forward
movement. The only purpose it serves it to mimic Shock Exchange rhythmic prose and tedious

talk, copy Plaintiff's arrangement of words, and steal Plaintiff's identity.

4 https://www.indexmundi.com/facts/united-states/quick-facts/all-states/white-population-percentage

22

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 23 of 70

150. The New York Times Magazine essay, It Js Time For Reparations, represents
comprehensive non-literal similarity. Arica. Ms. Hannah-Jones copies Plaintiffs expression
pursuant to redlining and the map(s) used to deny loans to creditworthy black borrowers.
Defendant’s focus of redlining is only on blacks. However, whites lived in redlined areas also.
Ms. Hannah-Jones never asserts that whites lived in redlined areas or that whites deserved
reparations -- copying Plaintiff’s errors and anomalies. The similitude can only be explained
through copying. Steinberg v. Columbia Pictures Industries, 663 F. Supp. 706 (S.D.N.Y. 1987).
151. Defendant’s focus of reparations is also underpinned by housing and housing wealth. In
using housing wealth as a marker, Ms. Hannah-Jones copies Plaintiff's expression verbatim.
Arica. Shock Exchange explains the economy through the eyes of the kids of the New York
Shock Exchange who studied housing starts and auto sales. Shock Exchange also describes how
the housing market and housing wealth cratered leading up to the Financial Crisis of 2008. Ms.
Hannah-Jones cites William A. Darity, and pretends as if she never heard of Ralph Baker or
Shock Exchange. Darity clearly knows who Plaintiff is because in Four Hundred Souls, Darity
copied Plaintiff's description of Reconstruction and the important of the Readjuster Party in
Virginia.

152. Ms. Hannah-Jones also copies Plaintiff's description of reparations. Shock Exchange
describes how Virginia Governor Harry Byrd closed public schools to undermine Brown v.
Board of Education. During the 2005-2006 school year Virginia established the Brown v. Board
of Educations scholarship fund for individuals negatively impacted by the lockout; according to

Julian Bond, “it would become the first Civil Rights-era reparations in U.S. history.”>

5 “Virginia is proof that reparations for slavery can work,” Ken Woodley, The Washington Post, July 19, 2019.

23

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 24 of 70

153. Ms. Hannah-Jones, Darity and Coates were aware of reparations to students in Prince
Edward County. When describing examples of reparations during a 2017 Harvard interview,
Coates “coyly” described reparations to Virginia students during the school lockout -- Coates:
“Yeah ... I think they may have begun to do something about this ... if you think about what
happened in Virginia with mass resistance, wherein you had people responding to Brown v.
Board by effectively shutting down the public school system. (Around the 42 minute mark).°

154. In excluding reparations to Prince Edward County students from the essay and citing
Darity, it represented a crude attempt by Ms. Hannah-Jones attempted to create the appearance of

dissimilarity. Business Trends.

155. Ms. Hannah-Jones also copied Plaintiffs arrangement of words. Holmes. There is a

substantial similarity between the top five-most repeated words, and next four most-repeated

words in defendant’s dissection vis-a-vis Shock Exchange — See Exhibit C. Jefferys, Holmes,
Nutt.

B. The 1619 Project: A New Origin Story, podcast series “Listen To ‘1619,’” The 1619
Project: Born on the Water, and The 1619 Project: A Visual Experience Represent
Comprehensive Non-Literal Similarity

156. Excluding the New York Times Magazine essays, the 1619 plagiarized works are
derivatives of the essays. Pursuant to 17 U.S. Code § 103(a), the subject of a copyright includes
compilations and derivative works. Protection for the plagiarized works does not extend to
material defendants used unlawfully. Pursuant to 17 U.S. Code § 106, the owner of a copyright
of a literary work has the exclusive rights to prepare derivative works, and to publicly display

and perform the copyrighted work.

° Ta-Nehisi Coates speaks at Harvard “Universities and Slavery” Conference, YouTube, May 17, 2017.

24
Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 25 of 70

157. The 1619 Project: A New Origin Story represents comprehensive non-literal similarity.
Arica. Like all of the 1619 plagiarized works, the book is unoriginal. It copies the structure and
pattern of Plaintiff's description of (i) Reconstruction, (ii) social unrest, riots, uprisings and
clashes with police, (ii) Newt Gingrich and the Republican revolution of the carly ‘90s, (iv)
redlining, the housing market, housing wealth, and reparations, (v) the black church, (vi) mass
incarceration, (vii) civil rights, (viii) and Plaintiff s language. The book does not represent fair

use. Defendants’ goal was to supersede Shock Exchange. Folsom v. Marsh, 17 U.S. Code § 107.

158. The book also copies Plaintiffs arrangement of words. Jefferys, Holmes, Nutt.

159. “The 1619 Project” docuseries on Hulu represents comprehensive non-literal similarity.
Arica. It copies the Plaintiff's expression of Reconstruction, social unrest, riots, uprising and
clashes with police, redlining, the housing market, housing wealth, reparations, the banking
industry, the black church, black music, civil rights, and mass incarceration. The docuseries does
not represent fair use. It is unoriginal and the only purpose is to supersede Shock Exchange.
Folsom v. Marsh, 17 U.S. Code § 107.

160. The 1619 Project: Born on the Water and The 1619 Project: A Visual Experience copy
the structure and pattern of Shock Exchange. Arica. They copy Plaintiff’s descriptions of mass
incarceration, civil, Reconstruction, social unrest, riots, uprisings, reparations, the black church,
and/or copy Plaintiff's arrangement of words. These plagiarized works do not represent fair use
and their only goal was to supersede Shock Exchange. 17 U.S. Code § 107.

Ms. Hannab-Jones also copied Plaintiff's arrangement of words. Holmes. There is a substantial
similarity between the top five-most repeated words, and next four most-repeated words in

defendant’s dissection vis-a-vis Shock Exchange — See Exhibit C.

25

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 26 of 70

FACTUAL BACKGROUND TO THIS ACTION PURSUANT TO THE KENDI
PLAGIARIZED WORKS |

C. The Kendi Plagiarized Works Represent Comprehensive Non-Literal Similarity

161. The Kendi plagiarized works represent comprehensive non-literal similarity. Arica. The
book, Stamped from the Beginning, copies the pattern and structure of Shock Exchange pursuant
to (i) Reconstruction, (ii) civil rights, (iii) riots, social unrest, police brutality, (iv) mass
incarceration, (v) New Gingrich and the Republican revolution of the early ‘90s, (vi) Reagan’s

war on drugs, (vii) Reagan’s economic policies and welfare queens, (viii) civil rights, (ix) mass

resistance, (x) Brown v. Board of Education, and (xi) Martin Luther King’s non-violent
resistance. Coates, Chris Jackson, Nicole Counts, and Victoria Matsui confessed to copying

Plaintiff's special knowledge. U.S. v. Stuckey.

162. The book is unoriginal and a slavish imitation of Shock Exchange. It does not represent
fair use. Its only goal is to supersede Shock Exchange. 17 U.S. Code § 107. The book adds
thousands of words about slavery and incessant talk of “racism and antiracism” as a crude

attempt to create the appearance of dissimilarity. Business Trends.

163. Four Hundred Souls copies the structure and pattern of Plaintiff's expression of
redlining, the property market, the housing market, reparations, civil rights, Brown v. Board of
education and resistance to segregation in Prince Edward County, VA, riots, social unrest and
police misconduct, Reconstruction, the rise of the Readjuster party in Virginia. Arica.

164. The book also copies Plaintiff's arrangement of words. Jefferys, Holmes, Nutt.

165. The remaining Kendi plagiarized works are derivatives of Stamped from the Beginning.
Pursuant to 17 U.S. Code § 103(a), the subject of a copyright includes compilations and

derivative works. Protection for the plagiarized works does not extend to material defendants

26
Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 27 of 70

used unlawfully. Pursuant to 17 U.S. Code § 106, the owner of a copyright ofa literary work has
the exclusive right to prepare derivative works, and to publicly display and perform the
copyrighted work.

166. The Netflix documentary, STAMPED FROM THE BEGINNING A Graphic History of
Racist ideas in America copies the pattern and structure of Plaintiff's expression of mass
incarceration, riots, social unrest, and Reagan’s war on drugs. Arica. It adds information about
slavery nonsense related to racism and antiracism to create the appearance of dissimilarity.

Business Trends. The document does not represent fair use and its aim is to supersede Shock

Exchange. 17 U.S. Code § 107.

FOR THE CAUSE OF ACTION AGAINST KENDI AND NIKOLE HANNAH-JONES
(Copyright Infringement And Unfair Competition)
167. Plaintiff repeats and realleges all of the foregoing allegations as if fully set forth herein.

168. Plaintiff owns a registered copyright in Shock Exchange.

169. Plaintiff owns the exclusive rights to Shock Exchange, and has not transferred any such
rights to any individual or entity.

170. Defendants stole a substantial portion of Shock Exchange. They also stole the most
unique aspects of Shock Exchange.

171. Defendants’ theft was obvious, despite attempts to mask the piracy.

172. In all instances of defendants’ copyright infringement, they were stealing from the heart
of Shock Exchange.

173. Taken collectively, defendants’ copying constitutes a gross and willful violation of
Plaintiff's copyright.

174. Defendants, through his books and articles copied from Shock Exchange engaged unfair

27

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 28 of 70

competition with Plaintiff and Shock Exchange pursuant to the Lanham Act, New York and
common law unfair competition laws, New York General Business Law §§ 349, 350 and 368-d,
and negligence,
175. Plaintiff has been damaged financially and emotionally. As a direct and proximate result
of defendants’ conduct, Plaintiff has been damaged in an amount to be determined at trial. In
addition to actual damages and profits or statutory damages, Plaintiff is entitled to recover the
costs and reasonable attorneys’ fees incurred in this action.
176. Plaintiff demands a permanent injunction on the sale, marketing and promotion of books,
comic books, articles, movies, sound recordings and music related to defendants.
177. Plaintiff demands the copyright for books, music, sound recordings, movies, articles et.
al, associated with defendants be transferred to him immediately. These include the 1619
plagiarized works, the Kendi plagiarized works, and the plagiarized works.
178. Defendants’ actions have shown a total disregard for the copyright laws of this country.
Plaintiff demands a permanent injunction against defendant owning a copyright for any work of
art — books, comic books, movies, music, articles, sound recordings, et. al. Plaintiff demands that
any artistic works — books, comic books, movies, music, sound recording, et. al. — that
defendants are involved with or associated with also be precluded from receiving a copyright,
179. Plaintiff demands 100 percent of all revenue defendants own, attempt to own or consult
with in perpetuity.
180. Plaintiff is forced to sue co-defendants of Ms. Hannah-Jones and Kendi lest the confusion
in the marketplace will continue and defendants and his employers and business partners will
argue that Plaintiff is copying them.

FOR THE CAUSE OF ACTION AGAINST THE “AGENTS”

28
Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 29 of 70

181. The following defendants are also known as “agents”: Nikole Hannah-Jones, Ibram X.
Kendi, Keisha Blain, Ta-Nehisi P. Coates, Jason Reynolds, Trevor Noah, Roger Ross Williams,
Shoshana Guy, Ms. Winfrey, Jelani Cobb, Kamilah Forbes, Chris Jackson, Nicole Counts,
Victoria Matsui, Claudia Rankine, Nikky Finney, Vievee Francis, Dorothy Roberts, Terrance
Hayes, Khalil Gibran Muhammad, Ysef Komunyakaa, Eve L. Ewing, Leslie M. Alexander,
Michelle Alexander, Barry Jenkins, Jesmyn Ward, Matthew Desmond, Jamelle Bouie, Martha 8.
Jones, Tim Siebles, Lynn Nottage, Darryl Pinckney, Caro! Anderson, Bryan Stevenson, A. Van
Jordan, Terry Mcmillan, Kevin Kruse, Clint Smith, Tiya Miles, William Barber IT, Donna
Brazile, Kiese Laymon, Pamela Newkirk, Adam Serwer, Isabel Wilkerson, Robin D.G. Kelly,
William A. Darity, Sherrilyn Ifill, Imani Perry, Peniel Joseph, Keemanga-Yamahta Taylor,
Angela Davis, Alicia Garza, Michael Harriott, Carles E. Cobb, Jr., Fanonne Jeffers, Dwayne
Betts, Robert Jones, Jr.

182. Plaintiff demands that all agents not be allowed to own a copyright in perpetuity or teach
at a college, university, or high school in perpetuity. Plaintiff demands 100 percent off all

revenue from any copyright agents own, attempt to own, or consult with.

FOR THE CAUSE OF ACTION AGAINST “COLLEGE AGENTS”

183. The following defendants are known as “college agents”: Howard University, The 1619
Freedom School, Center For Journalism & Democracy, Boston University, Center for Antiracist
Research, University of Pittsburgh, Brown University, Massachusetts Institute of Technology,
Craig Newmark School of Journalism at the City University of New York, New York University,
Columbia University, University of South Carolina, Dartmouth College, University of
Pennsylvania, Harvard University, Rutgers University, Tulane University, Princeton University,

Johns Hopkins University, Old Dominion University, Emory University, Stanford University,

29

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 30 of 70

University of California, Los Angeles, Duke University, Legal Defense Fund, The University of
Texas at Austin, Northwestern University, University of California, Santa Cruz, University of
Chicago, Yale University, Rice University, University of Oklahoma.

184. College agents have acted in a “for profit” manner in competing against the Plaintiff.

Plaintiff demands college agents lose their not-for-profit status, retroactive to 2016 when Kendi

and Ms. Hannah-Jones’ theft began. Plaintiff demands that not-for-profit status be revoked for

the latter of 10 years or when they college agents settle with Plaintiff.

185. College agents had the right and ability to supervise the infringement of Plaintiff's work

by their agents and employees.

186. Plaintiff demands that college agents lose their accreditation for each department or field

of study the agents participated in during their employ. For instance, Plaintiff demands that any

department of field of study Ta-Nehisi Coates worked in for defendants like MIT or Howard

University be shut down in perpetuity.

FOR THE CAUSE OF ACTION FOR THE NEW YORK TIMES COMPANY

187. Plaintiff demands that The New York Times Company transfer all copyrights pursuant to
the 1619 plagiarized works, or any of the plagiarized works to Plaintiff. Plaintiff demands
100 percent of all revenue from the 1619 plagiarized works and the plagiarized works.

188. Plaintiff demands The New York Times Company books division be shut down in
perpetuity. Plaintiff demands 100 percent of all revenue from any book owned by The New
Times Company or any book it generates revenue from in perpetuity.

189. Plaintiff demands a black out people for The New York Times newspaper and digital
newspaper each Thursday and Friday of each week for the next decade.

FOR THE CAUSE OF ACTION AGAINST BERTELSMANN SE & CO. KGaA

30

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 31 of 70

190. Bertelsmann demands an injunction against Bertelsmann publishing or distributing any
new books in the U.S. for the next 50 years. That includes any new copyrights generated by
artificial intelligence from Bertelsmann’s existing catalogs.

191. Plaintiff demands that Bertelsmann transfer the copyright for the 1619 plagiarized works,
the Kendi plagiarized works, and all plagiarized works to Plaintiff. Plaintiff demands 100 percent
of all revenue from the plagiarized works in perpetuity.

192. Bertelsmann and the “agents” have created a business model from stealing Plaintiffs
intellectual property. Plaintiff demands 10x the value of Bertelsmann’s books division —
including Penguin Random House, and Crown Books. Plaintiff understands the books division
was valued at approximately $2.3 billion when Bertelsmann purchased the remaining stake from
its former business partners. That would equate to $23 billion being transferred from
Bertelsmann to Plaintiff.

FOR THE CAUSE OF ACTION AGAINST HACHETTE LIVRE

193. Plaintiff demands Hachette Livre force Hachette Books to transfer the copyright to the
Kendi plagiarized works and all plagiarized works to Plaintiff. Plaintiff demands 100 percent of
all revenue for the plagiarized works in perpetuity.

194. Plaintiff demands an injunction against any new books being published or distributed by
Hachette Livre or its affiliates for the next 10 years. This includes any potential books or
copyrights generated via artificial intelligence from existing catalogs.

FOR THE CAUSE OF ACTION AGAINST LIONS GATE ENTERTAINMENT CORP.
195. Plaintiff demands the copyright for the 1619 plagiarized works and the plagiarized works
be transferred to Plaintiff immediately. Plaintiff demands 100 percent of all revenue from the

1619 plagiarized works and the plagiarized works in perpetuity.

31

Case 1:24-cv-08760-JMF Document 1 Filed 11/16/24 Page 32 of 70

196. Plaintiff demands an injunction against Lions Gate owning or distributing any new
documentaries for the next decade.

FOR THE CAUSE OF ACTION AGAINST PARAMOUNT GLOBAL

197. Plaintiff understands Paramount Global owns the Comedy Central Network, which
broadcasts The Daily Show. Plaintiff filed a copyright complaint against Ta-Nehisi Coates (and
others) September 19, 2022. Plaintiff understands Trevor Noah, former host of The Daily Show,
announced his departure from the show by the end of September 2022. Plaintiff understands
Coates appeared on the show hosted by Trevor Noah eight times — a record. Plaintiff understands
Ms. Hannah-Jones also appeared on the show with Trevor Noah to promote the 1619 plagiarized
work(s).

198. Plaintiff understands Trevor Noah has published books with the One World imprint — the
same imprint for the 1619 plagiarized work(s). The fact pattern suggests appearances by Coates
and Ms. Hannah-Jones may not have been “real news and commentary,” but attempts by Mr.
Noah to help his imprint fence stolen property.

199, Plaintiff demands (i) the copyright and (ii) 100 percent of the revenue from each episode
Coates and Ms. Hannah-Jones appeared on The Daily Show hosted by Mr. Noah.

200. Plaintiff demands a blackout period for Comedy Central from 6:00PM to 4:00AM,
Monday through Friday for the next decade.

FOR THE CAUSE OF ACTION AGAINST DISNEY

201. Plaintiff demands the copyright and 100 percent of all revenue from the 1619 plagiarized

works and all plagiarized works.

32

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 33 of 70

202. Plaintiff demands an injunction from Disney or any of its companies, divisions or
affiliates — including Hulu — from owning or distributing any new documentaries for the next

decade.

FIRST CAUSE OF ACTION
Direct Copyright Infringement (17 U.S.C. § 101 et seq.)
(Against All Defendants)

203. Plaintiff repeats and realleges each allegation above as if fully set forth herein.

204. Shock Exchange is original, creative, and copyrightable subject matter under the laws of
the United States.

205. The owner of Shock Exchange is the Plaintiff Ralph W. Baker, Jr.

206. The copyright in Shock Exchange is registered, and the Copyright Office has issued valid
Certificates of Registration for the Shock Exchange.

207. By its actions, alleged above, defendants have infringed and will infringe the publishers’
copyrights in and to Shock Exchange by, inter alia, reproducing, distributing, publicly
displaying, publicly performing, and making derivative works of the works without any
authorization or permission from Plaintiff.

208. Each infringement of the rights of Piaintiff in one of the works or Shock Exchange
constitutes a separate and distinct act of infringement.

209. Defendants’ infringement of Plaintiff's copyrights, including the Plaintiff's works or
Shock Exchange, is willful.

210. Upon information and belief, as a direct and proximate result of its wrongful conduct,
defendants have and will obtain benefits, including, but not limited to, profits to which

defendants is not entitled.

33
Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 34 of 70

211. Asadirect and proximate result of defendants’ wrongful conduct, Plaintiff has been, and
will continue to be, substantially and irreparably harmed in an amount not readily capable of
determination. Unless restrained by this Court, defendants will cause further irreparable injury to
Plaintiff.

212. Asa direct and proximate result of defendants’ infringement, Plaintiff is entitled to
recover statutory damages, pursuant to 17 U.S.C. § 504(c), with respect to each work infringed.
Alternatively, at the election of Plaintiff, pursuant to 17 U.S.C. § 504(b), Plaintiff is further
entitled to recover from defendants the damages he has sustained and will sustain, as well as any
gains, profits and advantages obtained by defendants because of their acts of infringement
alleged above. At present, the amount of such damages, gains, profits, and advantages cannot be
fully ascertained by Plaintiff

213. Plaintiff is entitled to recover his attorney’s fees and costs.

34

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 35 of 70

PRAYER FOR RELIEF

WHEREFORE, Plaintiff Ralph W. Baker, Jr., respectfully requests judgment against

defendants as follows:

213. Declaring that the practices of defendants in connection with Shock Exchange constitute
willful copyright infringement.

214. Issuing a preliminary and permanent injunction enjoining defendants, and its agents,
servants, employees, attorneys, successors and assigns, and all persons, firms and corporations
acting in active concert or participation with it, from directly or indirectly reproducing,
distributing, publicly displaying, creating derivative works, otherwise infringing, or causing,
enabling, facilitating, encouraging, or inducing the reproduction, distribution, public display,
creation of derivative works, or other infringement of, any of the respective copyrights owned or
exclusively controlled, in whole or in part, by Plaintiff, whether now in existence or hereinafter
created, and ordering that all unlawful copies be destroyed;

215. Entering judgment for Plaintiff against for statutory damages in an amount based upon
defendant’s willful acts of infringement of Shock Exchange, as alleged above, pursuant to the
Copyright Act, 17 U.S.C. §§ 101, et seq.

216. Entering judgment for Plaintiff against defendants for statutory damages in an amount
based upon defendants’ willful acts of infringement of Shock Exchange, as alleged above,
pursuant to the Copyright Act, 17 U.S.C. §§ 101, et seq.

217. Awarding Plaintiff the costs and disbursements of this action, including reasonable
attorney’s fees, pursuant to 17 U.S.C. § 505.

218. Awarding Plaintiff pre-judgment and post-judgment interest, to the fullest extent

available, on the foregoing; and

35

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 36 of 70

219. Granting such other further and different relief as this Court deems just and proper.

DEMAND FOR JURY TRIAL

220, Pursuant to Federal Rule of Civil Procedure 38, Plaintiff demands a jury trial on all issues
so triable in this action.

Dated: November 16, 2024

RALPH W. BAKER, JR. — PLAINTIFF

Rall MBL. why [uy

Name: Date:

36

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 37 of 70 2

EXHIBIT A

Water Dancer was written by Coates, Chris Jackson, Nicole Counts and Victoria Matsui. They
confessed to being part of an army of secret agents at war with the Plaintiff.

The Water Dancer

(1) “... It is a blessing to be here, to be at war with them. We are an outpost in that
army that you now know as the Underground. Everyone living here is part of that
army, though we can give no tell of such things ... They’re all agents, though they
work in different ways. Some of them work the house. They are read, as you are, and
have put that skill to use. Paper is important in this -- freedom papers, wills and
testaments ... The house agents always got an ear to the ground. They study. They
know the gossip. They know the journals. They know of influence in their region, but
no one in the region really knows them. And then there are others.”

P.161

(11) “But there are others who cannot be remanded to the house, for they feel the walls
pushing in. They are the ones who remember the first time they ran, and it was so
glorious to them, to be in defiance against everything they had ever been told ... That
is the field agent. The field agents are different. They go into plantations and lead the
Task up off of them. The field agents are daring ... And we need each other. We work
together. Same army ...”

P.162

(III) So I trained to be an agent, trained in the Mountains at Bryceton, Corrine’s family
stead, along with other agents recruited for the Underground. You will forgive me for
not saying much about my fellow agents ... We are not yet past a time when scores
ate settled and vengeances sought, do many of us must, even in this time, remain
Underground.

P.163

Coates, Chris Jackson, Nicole Counts, and Victoria Matsui confessed to (i) forging documents,
(ii) stealing Plaintiff's identity, (iii) learning Plaintiff's language, (iv) copying Plaintiff's
arrangement of words, and word choice, (vi) stealing Plaintiff's “special knowledge” and
masking the piracy.

The Water Dancer

(LV) “But I have not let them dictate to me, Hiram,” she said, holding the envelope.
“And I have not simply read, my boy. I have learned their language and custom — even
those that should be beyond my station, especially those that should be beyond my
station, and that has been the seed of my liberty.”

She walked over and placed the package before me.

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 38 of 70

“Open it,” she said.

This I did and found inside of it a life of a man. There were letters to family. There
were authorizations. There were certificates of sale.

“This is yours for the week,” she said. We can’t hold on to this man’s effects forever.
What we have here is a selection, random enough so that its absence should not alarm
him.”

“And what am I to do?” I asked.

“Learn him, of course,” she said. “This is a lesson in their customs. A way of
comprehending all of those things beyond your station. He is a gentleman, of some
education and schooling, as are many of the great slave-holders in this country.”

{ must have looked confused because Corrine now said, “What do you think you’ ve
been studying down here?”

I said nothing. She continued on, “What we do is not idle exercise, nor Christian
improvement. First you learn what they know, in the general. And then you learn them
in the specific — their words and their hand. Own the man’s special knowledge and you
shall own the measure of the man. Then you might fashion the costume, Hiram, and
make it yours to fit.”

I began to study the very next day. Quickly I ascertained that all the documents were
drawn up by the same hand. Studying them, a portrait began to emerge. From the
artifacts of the author’s life ~ the balance of his ledgers, his communications with his
wife, his journal entries upon certain deaths, the accounting off consecutive harvests —
the man, in all his traits and foibles, was summoned before me. I saw his daily habits,
his routines, his particular philosophy, and by the final hour, having never know him, I
could render nearly all his features.

Corrine met me again, a week later, in the library. I provided her with all I had
ascertained, and under her rigorous interrogation, I provided even more. What was his
wife’s favorite flower? How regular were their departures? Did this man love his
father? Had he yet turned gray? Where did he stand in society? And how ancient was
his fortune? Was he given to the infliction of random cruelties? I responded to every
query — I had, with my gift of memory, inhaled all the facts of the man’s life. But
Corrine pushed on to questions that went beyond the facts that might be committed to
memory to matters of interpretation. Was he a good man? What did he covet in life?
Was he the sort to revel in perceived wrongs? The next night she picked up this line of
inquiry and pushed me to construct the man down to the last loose thread of his
waistcoat. On the following night of interrogation, I found that the more speculative
questions came easier, and then by the last night they were so casy that I felt them to
matters of my own life. And that was the point of it all.

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 39 of 70

“Now,” she said. “You have read well enough to know this man to be in possession of
a particular property of which he is most fond.”

“The jockey, yes.” I replied. “Levity Williams.”

“The same,” she said. “This man will need a day-pass for the road, a letter of
introduction for the further portion, and finally free papers signed by his master. You
will provide these.”

She pulled from the case a tin and handed it to me. Opening it, | saw a fine pen, and by
handling, it, I knew it was the same weight as the one often employed by the object of
my study.

“Hiram, the costume must fit,” she said. “The day-pass must be done with the same
hurried disregard, the letters must have all that official flourish, and the freedom papers
the same arrogance that is surely the right of these vile people.”

There was still the practical fact of copying his signature and penmanship. But here my
memory and gift of mimicry triumphed. It was no different than what I’d done ail those
years ago, when Mr. Fields showed me the image of the bridge. Harder were the man’s
beliefs and passion, and my ability to covey them with confidence and ease, as though
they were my own. I never forgot that lesson. It was essential to what I became, to
what I unlocked and saw.

I don’t know if those documents ever loosed Levity Williams. Everything we did was
done under so much secrecy. But still, in forging these documents I felt something new
arising in me and the new thing was power. The power extended out from my right
arm, projected itself through the pen, and shot out through the wilderness, right at the
heart of those who condemned us.

Soon this became a regular labor. Every few weeks, Corrine presented me with a new
package. And each week I fitted myself to the costume, so that when I finished, I was
sometimes unsure of where I ended and the Taskmaster began ... I nearly loved them.
My work demanded no less: I must reach beyond all my particular hatred and pain, see
them in their fullness, and then, with my pen, strike out and destroy them...

And we did much more than that. We returned the documents edited and augmented.
Our forgeries encouraged feuds. We altered inquests. We lent proof of fornication. My
anger was now free and ranged beyond Maynard and my father, aimed now at all
Virginia, an anger I sated each night, under the lanterns, at the long library table.

Pages 166-169

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 40 of 70

Coleman Hughes of The Free Press explains how Coates collaborated with fellow agents Ms.
Hannah-Jones (and others) on The 1619 Project:

Coleman Hughes, The Fantasy World of Ta-Nehisi Coates, The Free Press,
October 2, 2024

(4) Mythmaking, rather than history, dominates the book’s third essay, “Bearing the
Flaming Cross,” where we learn that Coates had an intimate view of The 1619 Project
as it was being created by Nikole Hannah-Jones ... As Coates tells it, the backlash to
The 1619 Project practically fell out of the sky ... resulted from a characteristically
American unwillingness to face our past.

“Nikole is my homegirl,” Coates writes. And he “had the great fortune of watching her
build ‘The 1619 Project,’ of being on the receiving end of texts with highlighted pages
from history books,” and more. “Seeing the seriousness of effort, her passion for it, the
platform she commanded, and the response it garnered,” Coates realized that “a
backlash was certain to come.”

P.8

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 41 of 70

EXHIBIT B — Essays From New York Times Magazine

Ms. Hannah-Jones and her co-defendants copied the pattern and structure of Shock Exchange
pursuant to memoir, reconstruction, mass incarceration, social unrest — uprisings by Blacks,
protests, riots, police brutality and clashes between Blacks and the police — the Black church Ms.
Hannah-Jones also copied Plaintiff's arrangement of words — Shock Exchange rhythmic prose
and tedious talk.

The 1619 Project and Shock Exchange both began with a section based on memoir.

1619 Project

Shock Exchange

(1) My dad was born into a family of
sharecroppers on a white plantation in
Greenwood, Mississippi, where Black people
bent over cotton from can’t-see-in-the-
morning to can’t-see-at-night, just.as their
enslaved ancestors had done long before. The
Mississippi of my dad’s youth was an
apartheid state that subjugated its near-
majority black population through
breathtaking acts of violence. White residents
in Mississippi lynched more Black people
than those in any other state in the country,
and the white people in my dad’s county
lynched more Black resident than any other
county in Mississippi, for such “crimes” as
entering a room occupied by white women,
bumping into a white girl, or trying to start a
sharecroppers union. My dad’s mother, like
all Black people in Greenwood, could not
vote, use the public library, or find work other
than toiling in the cotton fields or toiling in
white people’s houses. In the 1940s, she
packed up her few belongings and her three
small children and joined the flood of Black
Southerners fleeing to the North. She got off
the Illinois Central Railroad in Waterloo,
Iowa, only to have her hopes of the mythical
Promised Land shattered when she learned
that Jim Crow did not end at the Mason-
Dixon Line.

Grandmama, as we called her, found a
Victorian house in a segregated Black

Farmville was made famous amongst African
Americans by W.E.B. Du Bois in 1898 when
he wrote The Negroes of Farmville: A Social
Study. Du Bois’ aim was to study the
economic condition of the American Negro.
Under the direction of the U.S. commissioner
of Labor, The Farmville Negro was the first
of a series of small, well-defined studies of
Negroes in the U.S. and predates Du Bois’
more famous study, The Philadelphia Negro
which was published in 1899. It is no wonder
that Du Bois’ focus was on Farmville,
because Prince Eward was a happening place
for blacks at the time. In 1790 the county’s
population was 8,160 and about half was
black. By 1890, the population had grown to
almost 15,000 and approximately 68% was
black.

P.2

... the density of African Americans in
Southside Virginia, as high as 60% of the
population in some areas, made white
residents vehemently opposed to school
segregation.

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 42 of 70

neighborhood on the city’s east side and
found the work that was considered Black
women’s work no matter where Black women
lived: cleaning white people’s homes. Dad,
too, struggled to find promise in this land. In
1962, at age seventeen, he signed up for the
army. Like many young men, he joined in
hopes of escaping poverty. But he went into
the military for another reason as well, a
reason common to Black men: Dad hoped if
he served his country, his country might
finally treat him as an American.

Nikole Hannah-Jones Pages 1-2.

(I) My dad was born into a family of
sharecroppers on a white plantation in
Greenwood, Mississippi, where Black people
bent over cotton from can’t-see-in-the-
morning to can’t-see-at-night, just as their
enslaved ancestors had done long before. The
Mississippi of my dad’s youth was an
apartheid state that subjugated tts Black
residents - almost half of the population —
through breathtaking acts of violence. White
residents in Mississippi lynched more Black
people than those in any other state in the
country, and the white people in my dad’s
county lynched more Black resident than any
other county in Mississippi, for such “crimes”
as entering a room occupied by white women,
bumping into a white girl, or trying to start a
sharecroppers union.

Nikole Hannah Jones Pages 1-2

I stayed quiet but thought to myself, “Boy
you had better calm down before you get
some tea.” I suddenly realized what a long
way from home I was and wondered, “How in
the heck did I get here?” I also wondered if I
would ever see Farmville again. Yet the
Farmville I longed for was that of my
youth — softball games on Mother’s Day or
singing at Mercy Seat while Annie Mae
looked on approvingly. The little boy was
still crying and acting up while the mother
shouted something in a foreign language. The
Swiss speak about five different languages,
but whatever she was saying, I was certain it
involved some “tea.” Lake Geneva seemed as
if it would go on forever.

P.

(IIE) Grandmama, as we called her, found a
Victorian house in a segregated Black
neighborhood on the city’s east side and
found the work that was considered Black
women’s work no matter where Black women
lived: cleaning white people’s homes.

Nikole Hannah-Jones P.2

And that is saying a lot because Prince
Edward was all black. I actually thought
blacks ran the world. Just about everybody I
came into contact with at church, at school
and in the neighborhood was black.

P27

(IV) Grandmama, as we called her, found a
Victorian house in a segregated Black

She (Gramma) spent her life pretty much
taking care of others. She worked as a

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 43 of 70

neighborhood on the city’s east side and housekeeper for a few families in Farmville
found the work that was considered Black and the Hampden-Syney area — the Marks and
women’s work no matter where Black Newmans to name a few.

women lived: cleaning white people’s

homes. P.9

Nikole Hannah-Jones P.2
(V) Dad, too, struggled to find promise in this | Having served in Vietnam after being
land. In 1962, at age seventeen, he signed up | drafted into the Navy at age 19, My Daddy

for the Army. Like many young men, he tried to run our house like the military. I
joined in hopes of escaping poverty. But he have never physically been to Vietnam my
went into the military for another reason as father took us there thousands of times. His
well, a reason common to Black men: Dad buddies from basic training, mostly

hoped if he served his country, his country teenagers, became his best friends. Their
might finally treat him as an American. The primary job was to keep each other alive ...
Army did not end up being his way out. He the first month after entering Vietnam, half
was passed over for opportunities, his his company was killed. ... For some odd
ambition stunted. He would be discharged. reason it was important to him for us to
under murky circumstances ... know what he went through in Vietnam ...
Nikole Hannah Jones P.2 P.22

Below are snippets on Reconstruction from both works.
1619 Project {Snippet on Reconstruction]

During this nation’s brief period of Reconstruction, from 1865 to 1877, formerly enslaved people
zealously engaged with the democratic process. With federal troops tempering widespread white
violence, black Southerner started branches of the Equal Rights League —- one of the nation’s
first human rights organizations — to fight discrimination and organize voters; they headed in
droves to the polls, where they placed other formerly enslaved people into seats that their
enslavers had once held. The South, for the first time in the history of this country, began to
resemble a democracy, with black Americans elected to local, state and federal offices. Some 16
black men served in Congress — including Hiram Revels of Mississippi, who became the first
black man elected to the Senate. (Demonstrating just how brief this period would be, Revels,
along with Blanche Bruce, would go from being the first black man elected to the last for nearly
a hundred years, until Edward Brooke of Massachusetts took office in 1967.) More than 600
black men served in Southern state legislatures and hundreds more in local positions. These
black officials joined with white Republicans, some of whom came down from the North, to
write the most egalitarian state constitutions the South had ever seen. They helped pass more
equitable tax legislation and laws that prohibited discrimination in public transportation,
accommodation and housing. Perhaps their biggest achievement was the establishment of that
most democratic of American institutions: the public school. Public education effectively did not
exist in the South before Reconstruction. The white elite sent their children to private schools,
while poor white children went without an education. But newly freed black people, who had
been prohibited from learning to read and write during slavery, were desperate for an education.

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 44 of 70

So black legislators successfully pushed for a universal, state-funded system of schools — not
just for their own children but for white children, too. Black legislators also helped pass the first
compulsory education laws in the region. Southern children, black and white, were now required
to attend schools like their Northern counterparts. Just five years into Reconstruction, every
Southern state had enshrined the right to a public education for all children into its constitution.
In some states, like Louisiana and South Carolina, small numbers of black and white children,
briefly, attended schools together.

Nikole Hannah Jones, 10 - 11

Shock Exchange [Dissection on Reconstruction]

Harry Byrd was a Virginia Democratic senator when the Brown decision was rendered. His
father was a wealthy apple planter in the Shenandoah Valley section of the state and publisher of
the Winchester Star, which Byrd later inherited. At the time, the Winchester Star was heavily in
debt. To save the paper, Byrd repaid indebtedness out of cash flow from operations. As state
senator (1915-1925), he upgraded many of Virginia’s secondary roads paid for by cash receipts
generated by the state or new taxes levied to cover such construction. In addition, Byrd served as
governor (1926-1933), and U.S, Senator (1933-1965). Prior to the Conservative Democrats
gaining favor in the late 1880s, Virginia politics was controlled by the Readjuster Party, co-
founded by Confederate General Robert William Mahone and Harrison Riddleberger, a lawyer
from Woodstock, Virginia. After the Civil War, Virginia was left with debt of approximately $50
million.

The majority of that indebtedness was incurred from infrastructure investments like roads and
railroads. After West Virginia seceded from the state, ‘Readjusters’ felt the debt should be
readjusted downward and West Virginia should pay its fair share of the debt burden. Mahone and
Riddleberger formed coalitions with progressive thinking factions and took advantage of blacks’
growing political power. William E. Cameron was elected governor from the Readjuster Party in
1882. At the time, three state senators and 11 delegates were black. Cameron’s administration
passed progressive legislations like the abolition of anti-black voting regulations, the
establishment of Virginia State University, and increased funding for public schools. Both
Republicans and Democrats alike wanted to quell black advancement, which meant destroying
the Readjuster Party. By 1883 the Readjusters had lost majority control of the state legislature
and the governorship to the Conservative Democrats. By 1902 the state legislature passed laws
which eliminated voting rights of blacks, and stated for the first time that the races were to be
educated at separate schools.

During Byrd’s rise to power in the 1920s he used his web of connections, mainly in the rural
areas of the state, to control Virginia politics for over 40 years and vigorously maintain
segregation.

P.6

Case 1:24-cv-08760-JMF

Document 1

Filed 11/16/24 Page 45 of 70

1619 Project

Shock Exchange

(VB) During this nation’s brief period of
Reconstruction ... formerly enslaved people
zealously engaged in the democratic process
... they (blacks) headed to the polls, where
they placed formerly enslaved people into
seats that their enslavers once held.

N. Hannah Jones, P. 10

In the late 1880s Virginia politics was ruled
by the Readjuster Party, which took
advantage of blacks’ growing power in the
general assembly.

(VID The South ... began to resemble a
democracy, with black Americans elected to
local, state and federal offices. Some 16 black
men served in Congress -~- including Hiram
Revels who became the first black man
elected to the Senate. (Demonstrating just
how brief this period would be, Revels, along
with Blanche K. Bruce, would go from being
the first black man elected to the last for
nearly a hundred years, until Edward Brooke
of Massachusetts took office in 1967.)

N. Hannah Jones Pages 10-11

By the time William Cameron was elected
governor from the Readjuster Party in 1882,
three state senators and 11 delegates were
Black.

(VIL) Demonstrating just how brief this
period would be, Revels, along with Blanche
K. Bruce, would go from being the first black
man elected to the last for nearly a hundred
years ...

N. Hannah Jones Pages 10-11

Blanche K. Bruce, the first black man elected
to the U.S. senate (1875-1881) grew up about
five minutes from my house.

P.1

(1X) Perhaps their biggest achievement was
the establishment of that most democratic of
American institutions: the public schools.
Public education effectively did not exist in
the South before Reconstruction ... newly
freed black people, who had been prohibited
from learning to read and write during
slavery, were desperate for an education. So
black legislators successfully pushed for a
universal, state-funded system of schools ...
N. Hannah Jones P.11

Cameron’s administration passed progressive
legislations like the abolition of anti-black
voting regulations, the establishment of
Virginia State University, and increased
funding for public schools.

P.6

(X) Led by black activists and a Republican
party ... the years directly after slavery saw
the greatest expansion of human and civil
rights this nation would ever see ... In 1870,
Congress passed the 15th Amendment,
guaranteeing the most critical aspect of
democracy and citizenship — the right to vote
—to all men regardless of “race, color, or
previous condition of servitude.”

Cameron’s administration passed
progressive legislations like the abolition of
anti-black voting regulations, the
establishment of Virginia State University,
and increased funding for public schools.

P.6

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 46 of 70

N. Hannah Jones P.12

(XD) White Southerners ... thanks in
significant part to the progressive policies
and laws black people championed,
experience substantial improvement in their
lives even as they forced black people back
into quasi slavery.

N. Hannah Jones P.12

Cameron’s administration passed.
progressive legislations like the abolition of
anti-black voting regulations, the
establishment of Virginia State University,
and increased funding for public schools.

P.6

(XID The many gains of Reconstruction were
met with fierce resistance throughout the
South, including unthinkable violence ...
wide-scale voter suppression, electoral fraud
and ... the overthrow of democratically
elected biracial governments.

N. Hannah Jones P.12

Both Republicans and Democrats alike
wanted to quell black advancement, which
meant destroying the Readjuster Party.
P.6

CID ... starting in the late 1880s, Southern
states passed a series of laws and codes meant
to make slavery’s racial cast system
permanent ... They passed literacy tests to
keep black people from voting and created
all-white primaries for elections ... local
school boards in Illinois and New Jersey
mandated segregated schools for black and
white children.

N. Hannah Jones Pages 13-14.

The post-Reconstruction plundering of black
wealth was not just a product of spontaneous
violence, but etched in law and public policy.
“A vast wealth gap, driven by segregation,
redlining, evictions and exclusion, separates
black and white America,” Trymaine Lee,
August 19, 2019.

By 1902 the state legislature passed laws
eliminating voting rights for blacks, and
stated for the first time the races were to be
educated at separate schools.

(SIV) Woodard’s blinding is largely seen as
one of the catalysts for the decades-long
rebellion we have come to call the civil rights
movement ... this was the second mass
movement for black civil rights, the first
being Reconstruction ... For the most part,
black Americans fought back alone. Yet we
never fought only for ourselves. The bloody
freedom struggles of the civil rights
movement laid the foundation for every other
modern rights struggle.

N. Hannah Jones Pages 15-16.

By 1902 the state legislature passed laws
which eliminated the voting rights of
blacks, and stated for the first time that the
races were to be educated at separate
schools.

During Byrd’s rise to power in the 1920s, he
used his web of connections, mainly in rural
areas of the state, to control Virginia politics
for over 40 years and vigorously maintain
racial segregation ... the five-year war of
attrition between black students in Prince
Edward and the state of Virginia broke the

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 47 of 70

Byrd Machine. By the early 1960s state and
federal courts had rendered many of Byrd’s
mass resistance laws “null and void.”
Pld
(XV) Our unemployment is nearly twice The target unemployment rate in the U.S.
that of white Americans, yet we are still the | was around 5% ... The other epiphany came
most likely of all groups to say the nation when Hendley told us that the
should take in refugees. unemployment rate for African Americans
has historically been 4°%-5% higher than
N. Hannah Jones P.16 our white counterparts.
P.51

Police brutality, police surveillance, uprisings, revolts, social unrest. Below is a snippet related to
Rodney King from Shock Exchange:

A year after graduating college, the famous Rodney King incident occurred. After a
high-speed chase, King was pulled over and beaten down by several members of the
LAPD. ‘The incident was captured on video; the footage was shocking to watch and
television stations around the country replayed it for weeks. California has always had an
image as being the “Sunshine State,” offering limitless possibilities. However, I had also
heard rumblings of police brutality and racial profiling. Former Oakland Raiders
running back, Marcus Allen, had gotten stopped so often while driving his Lamborghini
that he had to get a special license plate. That way, the LAPD would recognize him in
advance. African Americans in Southern California had complained publicly for years
about police bratality, but their complaints had fallen on deaf ears. A year after the
King incident, a jury found the members of the LAPD “not guilty” of police brutality.
The controversial verdict set off a week of rioting in Southern California that resulted in
50 deaths and property damage of around $1 billion. P.45

In 2011 the world witnessed civil unrest that overthrew the governments of Egypt and
Libya, and sparked the beginning of the end to President Bashar al-Assad’s reign in
Syria. In January 2011, protests actually broke out across parts of Northern Africa —
Tunisia, Yemen, Jordan, Algeria and Egypt. The uprisings in Tunisia were so strong that
they forced President Zine al-Abdine Ben Ali to flee the country by mid-January.
Egyptian activists planned a protest in Cairo to coincide with Police Day, a national
holiday held every January 25" to honor police. Just a year earlier Khaled Said, a young
man from Alexandria, had been beaten to death by police and portrayed as an outlaw.
To activists, Said was a symbol of their frustrations against the establishment. A
Facebook page called “We Are All Khaled Said” became a conduit for them to organize
and vent their frustrations. The combination of Said’s beating, November 2010 elections
that the populace viewed as rigged by Hosni Mubarak’s ruling Democratic Party, and the
success of uprisings in Tunisia caused millions of Egyptians to flock to the streets in
protest ... the country’s appearance of being a corrupt police state where a few select
insiders thrived, while 80 million residents lived in poverty, proved too much ...

Teenager Khaled Said in Egypt:
Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 48 of 70

The success of Egyptian uprisings spilled over into Libya in the form of peaceful
demonstrations. Protestors gained worldwide sympathy after Libya’s leader, Muammar
Gaddafi, tried to quell the demonstrations through violence. P.295

Plaintiff's prediction of social unrest in the U.S.:

The U.S. has all but escaped the recent violent demonstrations that have occurred in
China, Russia and North Africa. Thus far, anger at Wail Street has involved rhetoric and
peaceful demonstrations. While some are emboldened by the country’s ability to avoid
violent conflict, it may simply be the calm before the storm. P.328

Double-digit interest rates, debt-to-GDP ratios approaching 100%, untenable rates of
unemployment, and deflation in the housing sector while big business swims in billions
of taxpayer funds, will be more powerful than 500 pounds of iron sash weights. P.330

(XVI) In 1846, Col. Henry W. Adams, of the
168th Regiment, Virginia Militia, started a
slave patrol in Pittsylvania County,. Va., that
would “visit all Negro quarters and other
places suspected of entertaining unlawful
assemblies of slaves ... as aforesaid,
unlawfully assembled, orany others strolling
from one plantation to another, without a
pass from his or her master or mistress or
overseer, and take them before the next
justice of the peace ...” Slave patrols
throughout the nation were created by white
people who were fearful of rebellion and were
seeking to protect their human property ...
slave patrols tried to enforce laws that
limited the movement of the enslaved
community ...

Essay By Mary Elliott and Jazmine Hughes

... Lhad also heard rumblings of police
brutality and racial profiling. Former
Oakland Raiders running back, Marcus Allen,
had gotten stopped so often while driving
his Lamborghini that he had to get a special
license plate. That way, the LAPD would
recognize him in advance. African
Americans in Southern California had
complained publicly for years about police
brutality, but their complaints had fallen on
deaf ears.

P.45

(XVII) The many gains of Reconstruction
were met with fierce resistance throughout the
South, including unthinkable violence ...
Faced with this unrest, the federal
government decided that black people were
the cause of the problem and that for unity’s
sake, it would leave the South to its own
devices.

N. Hannah Jones P.12

After a high-speed chase, King was pulled
over and beaten down by several members
of the LAPD ... A year after the King
incident, a jury found the members of the
LAPD “not guilty” of police brutality. The
controversial verdict set off a week of rioting
in Southern California that resulted in 50
deaths and property damage of around $1
billion.

P45

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 49 of 70

(XVII ... Woodard got into a brief
argument with the white driver after asking if
he could use the restroom. About half an hour
later, the driver stopped again and told
Woodard to get off the bus ... before he could
speak, one of the officers struck him in the
head with a billy club, beating him
unconscious. The blows to woodard’s head
were so severe that when he woke in a jail
cell the next day, he could not see ... At 26,
Woodard would never see again. There was
nothing unusual about Woodard’s horrific
maiming. It was part of a wave of violence
deployed against black Americans after
Reconstruction.

N. Hannah Jones P.13

After a high-speed chase, King was pulled
over and beaten down by several members
of the LAPD.

P45

Just a year earlier Khaled Said, a young man
from Alexandria, had been beaten to death
by police and portrayed as an outlaw.

P.295

(XIX) During the height of racial-terror in this
country, black Americans were not merely
killed but castrated, burned alive and
dismembered with their body parts displayed
in storefronts.

N. Hannah Jones Pages 14-15.

In response to black demands for these rights,
white Americans strung them from trees,
beat them and dumped their bodies in muddy
rivers, assassinated them in their front yards,
firebombed them on buses, mauled them with
dogs, peeled back their skin with fire hoses
and murdered their children with explosives
set off inside a church.

N. Hannah Jones P.16

The controversial verdict set off a week of
rioting in Southern California that resulted in
50 deaths and property damage of around $1
billion. P.45

(XX) Sometimes black cane workers
resisted collectively by striking during
planting and harvesting time -- threatening to
ruin the crop ... other times workers met swift
and violent reprisals, After a major
insurgency in 1887, led by Knights of Labor,
a national union, at least 30 black people —
some estimated hundreds — were killed in
their homes and on the streets of Thibodaux,
La.

... the meeting still did not assuage
employees’ fears of losing their jobs and
pensions from a Jianlong takeover. That
afternoon, employees confronted Mr. Chen
and beat him severely ... With Mr. Chen still
missing and Jianlong executives fearing the
worst, local government officials made a
public announcement that Jianlong’s planned
takeover had been scrapped. Nonetheless, by
the time the rioting had subsided and
authorities were able to reach Mr. Chen, the

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 50 of 70

“The Enslaved Pecan Pioneer,” Tiya Miles.

father of two was already dead. The Tonghua
incident has since become a symbol of
worker resistance to Chinese industrial

reform.
P.304

(XX1) The museum tells of the everyday
struggles and resistance of black people
who didn’t lose their dignity even when they
lost everything else. The museum also sits
across the river from the site of the German
Coast uprising in 1811, one of the largest
revolts of enslaved people in United States
history. As many as 500 sugar rebels joined a
liberation army heading toward New Orleans,
only to be cut down by federal troops and
local militia ... About a hundred were killed
in battle or executed later, many with their
heads severed and placed-on pikes throughout
the region ... the execution tally was nearly
twice as high as the number in Nat Turner’s
more famous 1831 rebellion.

“The sugar that saturates the American dict
has a barbaric history as ‘the white gold’ that
fueled slavery.”

Khalil Gibran Muhammad

The shooters didn’t even cover their faces ...
“He was too successful to be a Negro,”
someone who knew Bolling told a newspaper
at the time. When Bolling was killed, his
family he had as much as $40,000 in the bank
and more than $5,000 in assets ...

Essay By Trymaine Lee

Armed white people stormed prosperous
majority-black Wilmington, N.C., in 1898 to
murder dozens of black people, force 2,000
others off their property and overthrow the
city government.

Lssay By Trymaine Lee

In the Red Summer of 1919, at least 240
black people were murdered across the

The combination of Said’s beating, November
2010 elections that the populace viewed as
rigged by Hosni Mubarak’s ruling Democratic
Party, and the success of uprisings in Tunisia
caused millions of Egyptians to flock to the
streets in protest ...

P.295

The success of Egyptian uprisings spilled
over in the form of peaceful demonstrations.
P. 295

.». China experienced

a wave of violent unrest that required riot
police to quell ... they all involved citizens
who felt denied rights expected in an
industrialized nation. Each protest was
triggered by a specific flashpoint — a pregnant
street vendor assaulted by security or the
death of a man in police custody who had
challenged a land deal. Each of the protests
resulted in violent clashes with police, local
authorities or employers — all symbols of
repression.

P.304

The U.S. has all but escaped the recent
violent demonstrations that have occurred in
China, Russia and North Africa. Thus far,
anger at Wall Street has involved rhetoric and
peaceful demonstrations. While some are
emboldened by the country’s ability to avoid
violent conflict, it may simply be the calm
before the storm.

P.328

In 1919 Jack was the target of a letter bomb
intercepted by the post office. In 1920,
Thomas W. Simpkin, an escaped mental
patient, wandered into Jack’s church and shot
his physician who he mistook for Jack. Again

10

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 51 of 70

country. And in 1921, in one of the bloodiest
racial attacks in United States history,
Greenwood, a prosperous black neighborhood
in Tulsa, Okla., was burned and looted. It is
estimated that as many as 300 black people
were murdered and 10,000 were rendered
homeless. Thirty-five square blocks were
destroyed. No one was ever convicted in any
of these acts of racist violence.

Essay By Trymaine Lee

In September 1739, a group of enslaved
Africans in the South Carolina colony, led by
an enslaved man called Jemmy, gathered
outside Charleston, where they killed two
storekeepers and seized weapons and
ammunition ... Their goal-was Spanish
Florida, where they were promised freedom if
they fought as the first line of defense against
British attack. This effort, called the Stono
Rebellion, was the largest slave uprising in
the mainland British colonies, Between 60
and 100 black people participated in the
rebellion; about 40 black people and 20 white
people were killed, and other freedom fighters
were captured and questioned.

Essay By Mary Elliott, Jazmine Hughes

In the 1640s, John Punch, a black servant,
escaped bondage with two white indentured
servants. Once caught, his companions
received additional years of servitude, while
Punch was determined enslaved for life. In
the wake of Bacon’s Rebellion, in which free
and enslaved black people aligned themselves
with poor white people and yeoman white
farmers against the government, more
stringent laws were enacted that defined.
status based on race and class. formalized.

Essay By Mary Elliott, Jazmine Hughes

in 1920, a horse-drawn carriage filled with.
500 pounds of iron sash weights exploded
between J.P. Morgan headquarters and the
U.S. Assay Office across the street. The blast
killed 38 people (including two Morgan
employees) and injured hundreds more.
P.329

Double-digit interest rates, debt-to-GDP ratios
approaching 100%, untenable rates of
unemployment, and deflation in the housing
sector while big business swims in billions of
taxpayer funds, will be more powerful than
500 pounds of iron sash weights.

P.330

Wealth, housing wealth, redlining, and the importance of the housing, land and property.

11

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 52 of 70

(XXID Between 1865 and 1870, the
Reconstruction Amendments established
birthright citizenship — making all black
people citizens and granting them equal
protection under the law — and gave black
men the right to vote. There was also the
promise of compensation. In January 1865,
Gen. William Sherman issued an order
reallocating hundreds of thousands of acres
of white-owned land along the coasts of
Florida, Georgia and South Carolina for
settlement by black families in 40-acre
plots.

Essay By Trymaine Lee

I took the two largest components of the
model (housing and autos) and developed a
short-form conclusion — housing and autos
drive the economy. After the renovation on
my house I saw the economy move firsthand
... three years and three contractors later I got
my house finished. Now replicate this
estimated rehab project about 100,000 times
every month and you would get an indication
of how housing starts move the U.S.
economy.

P.56

Armed white people stormed prosperous
majority-black Wilmington, N.C., in 1898 to
murder dozens-of black people, force 2,000
others off their property and overthrow the
city government ... 1921, in one of the
bloodiest racial attacks in United States
history, Greenwood, a prosperous black
neighborhood in Tulsa, Okla., was burned
and looted. it is estimated that as many as
300 black people were murdered and 10,000
were rendered homeless. Thirty-five square
blocks were destroyed.

“You have limited opportunity to accumulate
wealth, and then you have a process where
that wealth is destroyed or taken away,”
Darity says. “And all of that is prior to the
effects of restrictive covenants — redlining,
the discriminatory application of the G.I. Bill
and other federal programs.”

Essay By Trymaine Lee

Though 1990 was the year businesses
acknowledged the recession, the economy
started.on a downward spiral in 1987.
Housing starts (single and multi-family)
declined a little over 10% from 1.8 million in
1986 to 1.6 million in 1987. They hit a
trough of 1.0 million in 1991 and trended
upward to 1.4 million in 1995. The Federal
Reserve began lowering interest rates in 1991,
which may have helped starts. That said,
housing starts still never dipped below 1.0
million during the review period.

P.73

Housing starts of 609 thousand in 2011 are
less than a third of the 2.1 million starts at the
peak of the review period (2005), and about
10% above the 2009 trough of 554,000 — the
lowest since WWII. Falling home prices,
rising foreclosures, sticky unemployment
levels and banks’ higher underwriting
standards have attributed to some of the most
dismal housing starts on record. Contrastly,
housing starts during the recession of the
early 1990s never fell below 1 million. The
“tale of two recessions” reiterates that the
crisis of 2008 was driven by real estate
speculation — fueled by Wall Street — that
will take years to rectify. That said, simply
lowering interest rates will not abate the
situation if homeowners with the highest

12

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 53 of 70

MPCs are denied access to those lower rates.
Housing starts are driven by both
demographics and affordability.

P.326

(XXII) The post-Reconstruction plundering
of black wealth was not just a product of
spontaneous violence, but etched in law and
public policy. Through the first half of the
20th century, the federal government actively
excluded black people from government
wealth-building programs.

Essay By Trymaine Lee

Investment Meeting ~ August 16, 2008 Home
prices are down 15.8% year-over-year and
8.9% YTD ... Homeowners feel less
wealthy because their primary asset — their
home has depreciated im value. P.169

Investment Meeting — April 5, 2009

Home prices were down 18.2% y-o-y in 4Q
2008. Homeowners feel less wealthy
because their primary asset — their home — has
depreciated in value. P. 170

Investment Meeting — March 16, 2008

Home prices fell in the 4" quarter of 2007 by
8.9%, the largest year-over-year decline in at
least 20 years. Homeowners feel less
wealthy because their primary asset — their
home — has depreciated in value. P.171

(XXIV) The establishment of the Home
Owners Loan Corporation in 1933 helped
save the collapsing housing market, but it
largely excluded black neighborhoods from
government-insured loans. Those
neighborhoods were deemed “hazardous” and
colored in with red on maps, a practice that
came to be known as “redlining.”

Essay By Trymaine Lee

Regulators colored in red the areas of the map
where the declined loan applicants lived.
After this process was over, regulators had
drawn a red line through the neighborhoods
where only African Americans lived — hence
the term “redlining” was coined.

P.58

(XXV) It helped usher millions of working-
class veterans through college and into new
homes and the middle class ... The bill gave
veterans access to mortgages with no down
payments, but the Veterans Administration
adopted the same racially restrictive policies
as the Federal Housing Administration, which
guaranteed bank loans only to developers who
wouldn’t sell to black people. “The major
way in which people have an opportunity to
accumulate wealth is contingent on the
wealth positions of their parents and their
grandparents,” Darity says. “To the extent
that blacks have the capacity to accumulate

Investment Meeting — August 16, 2008 Home
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8.9% YTD ... Homeowners feel less
wealthy because their primary asset — their
home has depreciated in value. P.169

Investment Meeting — April 5, 2009

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2008. Homeowners feel less wealthy
because their primary asset — their home -- has
depreciated in value. P. 170

Investment Meeting — March 16, 2008

13

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 54 of 70

wealth, we have not had the ability to transfer
the same kinds of resources across
generations.”

Essay By Trymaine Lee

Home prices fell in the 4" quarter of 2007 by
8.9%, the largest year-over-year decline in at
least 20 years. Homeowners feel less
wealthy because their primary asset — their
home — has depreciated in value. P.171

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class veterans through college and into new
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payments, but the Veterans Administration
adopted the same racially restrictive policies
as the Federal Housing Administration, which
guaranteed bank loans only to developers who
wouldn’t seli to black people.

Essay By Trymaine Lee

Once individuals reach their late 20s or early
30s, they are most likely to marry, start a
family and buy a home. The growth in this
segment of the population drives housing.
The other lever, affordability, may prompt
them to buy now or delay their purchase. If
mortgage rates reach double digits, housing
starts could retest the lows of 2009.

P.326

(XXVID ... cities like Baltimore and
Louisville enacted laws that mandated
residential racial segregation ... During the
New Deal, federal agencies like the Home
Owners’ Loan Corporation and the Federal
Housing Administration encouraged
redlining practices that explicitly marked
minority neighborhoods as risky investments
and therefore discouraged bank loans,
mortgages and insurance there.

Essay by Kevin Kruse

Regulators colored in red the areas of the map
where the declined loan applicants lived.
After this process was over, regulators had
drawn a red line through the neighborhoods
where only African Americans lived — hence
the term “redlining” was coined.

P58

A group of African-American customers in
Illinois complained about discrimination in
their local bank’s lending practices.

P.58

Based on the dispersion of the loan declines,
it appeared the bank’s Joan officers had
predetermined to decline all loans from
American-American neighborhoods.

P.58

Newt Gingrich:

(XX VIED If you want to understand
American politics in 2019 and the strain of
reactionary extremism that has taken over
the Republican Party, a good place to start
is 2011: the year after a backlash to Barack
Obama’s presidency swept Tea Party
insurgents into Congress, flipping control of
the House. “America holds onto an

Gingrich introduced the contract about six
weeks prior to the midterm elections of
November 1994 and it was successful beyond
anyone’s expectations. In the Senate,
Republicans won eight additional seats and
prompted Democratic Senator Richard Shelby
of Alabama to switch parties. Meanwhile,
they added 54 seats in Congress, resulting

14

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 55 of 70

undemocractic assumption from its founding:
that some people deserve more power than
others,”

Jamelle Bouie, August 14, 2019

in Republican control of both Congress
and the Senate for the first time in over 40
years.

P.92

(XXIEX) The Senate Republican leader, Mitch
McConnell, used a variety of procedural
tactics to effectively nullify the president’s
ability to nominate federal judges and fill
vacancies in the executive branch. In the
minority, he used the filibuster to an
unprecedented degree. In the majority, after
Republicans won the Senate in the 2014
midterm elections, he led an extraordinary
blockade of the Supreme Court, stopping the
Senate from even considering the president’s
nominee for the bench.

Jamelle Bouie, August.14,.2019

In the Senate, Republicans won eight
additional seats and prompted Democratic
Senator Richard Shelby of Alabama to switch
parties. Meanwhile, they added 54 seats in
Congress, resulting in Republican control
of both Congress and the Senate for the first
time in over 40 years.

P.92

(XXX) Where did this destructive, sectarian
style of partisan politics come from?
Conventional wisdom traces its roots to the
“Gingrich Revolution” of the 1990s, whose
architect pioneered a hardball, insurgent style
of political combat, undermining norms and
dismantling congressional institutions for the
sake of power. This is true enough, but the
Republican Party of the Obama years didn’t
just recycle its Gingrich-era excesses; it also
pursued a policy of total opposition, not just
blocking Obama but also casting him as
fundamentally illegitimate and un-American.
He may have been elected by a majority of
the voting public, but that majority didn’t
count.

Essay By Jamelle Bouie

A rising GOP star and congressman from
Pennsylvania, Newt Gingrich had his own
plan to overtake Congress. He crafted the
famous “Contract With America,” which
outlined 10 initiatives Republicans would
take if elected to Congress. The “contract”
included but was not limited to (i) $45 billion
in spending cuts for food stamps, Medicaid,
Aid to Families with Dependent Children and
other programs aimed at the poor, (ii)
removing recipients off welfare after two
years, (iii) $190 billion in tax cuts over five
years, and (iv) a balanced budget.

P.91

Bailouts / Financial Crises

(XXX) During slavery, “Americans built a
culture of speculation unique in its abandon,”
writes the historian Joshua Rothman in his
2012 book, “Flush Times and Fever Dreams.”
That culture would drive cotton
production up to the Civil War, and it has
been a defining characteristic of American
capitalism ever since. It is the culture of

The panic of 1907 was brought upon by
speculation in commodities and railroad
stocks. The speculation was mostly
attributable to trust companies, which were
supposedly “safe” investment vehicles, At
the time, trust companies were insulated from
competition because banks were prohibited
from executing trust business like wills and

15

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 56 of 70

acquiring wealth without work, growing at all
costs and abusing the powerless. It is the
culture that brought us the Panic of 1837, the
stock-market crash of 1929 and the recession
of 2008. It is the culture that has produced
staggering inequality and undignified working
conditions.

Essay By Matthew Desmond

estates. They found a legal loophole that let
them engage in speculative activities beyond
traditional trust business.

P.285

World markets crumbled and investors only
wanted to hold the safest credits — U.S.
treasurfies] and the German Bund ... Long-
Term had invested in the most esoteric
securities with the largest price disparities
and profit potential, the very securities
investors were fleeing from. By the time of
the Russian sovereign debi default, Long-
Term had $3.6 billion in assets. In just five
weeks it would be wiped out.

P.197

Senator Obama seized the moment by calling
the meltdown of the stock market “the most
serious financial crisis since the Great
Depression,” and Mr. McCain “out of
touch.” Over a period of mere months, Mr.
Obama could see that the economy was near
Great Depression status.

P.173

Shock Exchange included a chart of the
hundreds of billions of proprietary-trading
assets (speculative assets) held by investment
banks prior to the Financial Crisis of 2008.
P.198

(XXXITB) It is the culture that brought us the
Panic of 1837, the stock-market crash of
1929 and the recession of 2008. It is the
culture that has produced staggering
inequality and undignified working
conditions,

Essay By Matthew Desmond

Chernow traced J.P. Morgan’s history from
its roots as a merchant bank in the mid-1800s.
He captured how events leading up to the
stock market crash of 1929 and the Great
Depression in the 1930s shaped U.S.
securities laws that still last today.

P.86

They have rewarded Bernanke and Obama by
hoarding their cash savings. In retrospect, it
is somewhat of a misnomer to merely
compare the recession of 2008 to the Great
Depression.

P.324

(XXXII) If today America promotes a
particular kind of low-road capitalism -—— a

These are not “captains of industry” who have
been bailed out ... Double-digit interest

16

Case 1:24-cv-08760-JMF

Document 1

Filed 11/16/24 Page 57 of 70

union-busting capitalism of poverty wages,
gig jobs and normalized insecurity; a winner-
take-all capitalism of stunning disparities
not only permitting but awarding financial
rule-bending; a racist capitalism that ignores
the fact that slavery didn’t just deny black
freedom but built white fortunes, originating
the black-white wealth gap that annually
grows wider —— one reason is that American
capitalism was founded on the lowest road
there is.

Essay By Matthew Desmond

rates, debt-to-GDP ratios approaching 100%,
untenable rates of unemployment, and
deflation in the housing sector while big
business swims in billions of taxpayer
funds, will be more powerful than 500
pounds of iron sash weights.

Pages 329-330

Banking, Mortgage-Backed Securities, Glass-Steagall

(XXXIV) Because enslavers couldn’t repay
their loans, the banks couldn’t make interest
payments on their bonds. Shouts went up
around the Western world, as investors began
demanding that states raise taxes to keep their
promises. ... But neither did they foreclose on
defaulting plantation owners ... Furious
bondholders mounted lawsuits and cashiers
committed suicide, but the bankrupt states
refused to pay their debts. Cotton slavery
was too big to fail. The South chose to cut
itself out of the global credit market, the hand
that had fed cotton expansion, rather than
hold planters and their banks accountable for
their negligence and avarice.

Essay By Tia Miles, Matthew Desmond

I simply was not buying this “too big to fail”
story President Bush and Secretary
Paulson were pushing. AIG had been one of
the largest insurance companies for decades,
yet nobody cared. Why was AIG a “company
of interest” all of a sudden? Weeks after the
AIG bailout was completed, the public
became aware as to why bailing out AIG was
so imperative — Goldman Sachs was one of
AIG’s largest counterparties under its credit
default swap agreements. The bailout of AIG
was nothing more than a “backdoor bailout”
of Goldman Sachs; AIG was merely a pass-
through vehicle to facilitate that.

P. 205

(XXXYV) Enslaved people were used as
collateral for mortgages centuries before the
home mortgage became the defining
characteristic of middle America. In colonial
times, when land was not worth much and
banks didn’t exist, most lending was based
on human property. In the early 1700s,
slaves were the dominant collateral in South
Carolina. Many Americans were first exposed
to the concept of a mortgage by trafficking in
enslaved people, not real estate, and “the
extension of mortgages to slave property
helped fuel the development of American

Bear’s MBS investing strategy began to
unravel after two of its hedge funds that
invested in collateralized debt obligations
(CDOs) and derivatives, imploded in early
1997. Their strategy was (i) borrow debt to
purchase CDOs and earn a rate above the cost
of borrowing and (ii) purchase insurance
(credit default swaps) as a hedge against the
CDOs falling in value. The end goal was to
net out the cost of the debt to purchase
“AAA” rated subprime debt, as well as the
cost of the credit insurance, and achieve a
positive return — referred to as a “positive

17

Case 1:24-cv-08760-JMF

Document 1

Filed 11/16/24 Page 58 of 70

(and global) capitalism,” the historian Joshua
Rothman told me.

Essay By Matthew Desmond

Or consider a Wall Street financial instrument
as modern-sounding as collateralized debt
obligations (C.D.O.s), those ticking time
bombs backed by inflated home prices in the
2000s. C.D.O.s were the grandchildren of
mortgage-backed securities based on the
inflated value of enslaved people sold in the
1820s and 1830s. Each product created
massive fortunes for the few before blowing
up the economy.

Essay By Matthew Desmond

When seeking loans, planters used enslaved
people as collateral. Thomas Jefferson
mortgaged 150 of his enslaved workers to
build Monticello. People could be sold much
more easily than land, and in multiple
Southern states, more than eight in 10
mortgage-secured loans used enslaved
people as full or partial collateral. As the
historian Bonnie Martin has written, “slave
owners worked their slaves financially, as
well as physically from colonial days until
emancipation” by mortgaging people to buy
more people.

Essay By Matthew Desmond

carry.”” However, the subprime MBS market
declined to levels that could not be perfectly
hedged and the funds eventually imploded.
P.202

During previous investment meetings we
tracked the declines in housing starts and auto
sales — key drivers of the economy. We were
also coming out of an extremely low interest
rate environment and once rates rose, |
figured that (i) there would be a problem
with mortgage-backed securities, (ii) like
Kidder, at least one investment bank would
implode and (iii) a few hedge funds and
managers with outsized reputations would be
deflated, ala David Askin and Michael
Steinhardt.

P.166

Both institutions [Fannie Mae, Freddie Mac}
were set up to provide local banks with
federal financing to make housing available
for everyone. They helped create a
secondary market for these mortgages by
(i) packaging them into MBS and (ii) selling
them to investors. In doing so, they created
liquidity for mortgages, freeing up capital
for lenders to make more loans and lowering
borrowing costs for prospective homeowners.
P.193

Shock Exchange included a chart of the
hundreds of billions of proprietary-trading
assets (speculative assets) held by investment
banks prior to the Financial Crisis of 2008.
P.198

(XXXVI) Enslavers were not the first ones
to securitize assets and debts in America.
The land companies that thrived during the
late 1700s relied on this technique, for
instance. But enslavers did make use of
securities to such an enormous degree for
their time, exposing stakeholders
throughout the Western world to enough
risk to compromise the world economy,

Defaults and foreclosures are rising; the
delinquency rate [of] securitized office loans
hit 9% in December, up from 7.4% in June ...
Then there is 40 Wall Street, the 1.3-million-
square-foot-tower owned by Donald Trump.
In 2009 40 Wall Street had leases expiring
that represented nearly 50% of the building’s
total space. However, Trump moved
aggressively by reaching out to companies

18

Case 1:24-cv-08760-JMF

Document 1

Filed 11/16/24 Page 59 of 70

that the historian Edward Baptist told me that
this can be viewed as “a new moment in
international capitalism, where you are seeing
the development of a globalized financial
market.” The novel thing about the 2008
foreclosure crisis was not the concept of
foreclosing on a homeowner but
foreclosing on millions of them. Similarly,
what was new about securitizing enslaved
people in the first half of the 19th century was
not the concept of securitization itself but
the crazed level of rash speculation on cotton
that selling slave debt promoted.

Essay By Matthew Desmond

beyond the building’s traditional Wall Street
clientele and offered below-market rents, If
this trend continues, the buyer’s market for
office space may lead to commercial real
estate prices revisiting the trough of April
2011.

Pages 316-317

... record low rates have been beyond the
reach of many borrowers with substandard
credit, behind on their mortgages or with
mortgages currently underwater ... by
November 2009 3.4% of U.S. households (1.9
million homeowners) were 120 days or more
overdue on their payments, yet not in
foreclosure. Secondly, by mid-2011 home
prices had fallen about 34% from their peak
in 2006, leaving about 10.9 million
Americans who borrowed to buy their homes
— 22.7% of all homeowners with a mortgage
nationwide ~ underwater on their mortgages.
Pages 223-224

(XXXVED In recent decades, America has
experienced the financialization of its
economy. In 1980, Congress repealed
regulations that had been in place since the
1933 Glass-Steagall Act, allowing banks to
merge and charge their customers higher
interest rates. Since then, increasingly profits
have accrued not by trading and producing
goods and services but through financial
instruments. Between 1980 and 2008, more
than $6.6 trillion was transferred to financial
firms.

Essay By Matthew Desmond

As it’s usually narrated, the story of the
ascendancy of American finance tends to
begin in 1980, with the gutting of Giass-
Steagall, or in 1944 with Bretton Woods, or
perhaps in the reckless speculation of the
1920s. But in reality, the story begins during
slavery.

Instead of devising new laws to address
financial reform, lawmakers should (i) re-
institute Glass-Steagall and (ii) update it to
include those products or business lines that
may not have existed in the 1930s, but which
the “spirit” of Glass-Steagall was designed to
address.

P.290

In November 1999 President Clinton signed
into law an overhaul of Glass-Steagall — the
Gramm-Leach-Bliley Act. The bill was
approved in the Senate by a 90 to 8 vote and
in Congress by a 362 to 57 vote. Lawmakers
received a resounding response from Wall
Street as the stocks of banks and insurance
companies rose due to speculation from the
pending wave of mergers in those industries.
Treasury Secretary Lawrence Summers was
quoted as saying, “With this bill, the
American financial system takes a major
step toward the 21“ Century — one that will
benefit American consumers, business and the

19

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 60 of 70

Essay By Matthew Desmond national economy ...” President Clinton cited
the legislation as “truly historic ...” Little did
he know that lawmakers had just set in
motion the beginning of the next financial
crisis, tivaled only by the Great Depression.
Pages 92-93

Citigroup created a billion-dollar fund ...
which it used to fob off its worthless assets
onto unsuspecting investors ... Despite the
obvious evidence of fraud, the SEC fined
Citigroup $285 million ... Rakoff rejected
the SEC settlement out of hand and
questioned the “fact pattern” in the case.
P.260

The Black Church:
Snippet From 1619 Project

Black people, both free and enslaved, relied on their faith to hold onto their humanity under the
most inhumane circumstances. In 1787, the Rev. Richard Allen and other black congregants
walked out of services at St. George’s Methodist Episcopal Church in Philadelphia to protest its
segregated congregations. Allen, an abolitionist who was born enslaved, had moved to
Philadelphia after purchasing his freedom. There he joined St. George’s, where he initially
preached to integrated congregations. It quickly became clear that integration went only so far:
He was directed to preach a separate service designated for black parishioners. Dismayed that
black people were still treated as inferiors in what was meant to be a holy space, Allen founded
the African Methodist Episcopal denomination and started the Mother Bethel A.M.E. Church.
For communities of free people of color, churches like Allen’s were places not only of sanctuary
but also of education, organizing and civic engagement, providing resources to navigate a racist
society in a slave nation. Allen and his successors connected the community, pursued social
justice and helped guide black congregants as they transitioned to freedom. The African
Methodist Episcopal Church grew rapidly; today at least 7,000 A.M.E. congregations exist
around the world, including Allen’s original church.

Snippet From Shock Exchange

The black church is one of the most important parts of the African-American existence in
this country. We were actually affiliated with three churches — New Hope, Mercy Seat and
Triumph. From my earliest recollection I was always in church. Mark and I sang at Mercy
Seat on behalf of Ms. Cleveland, one of the upstanding members of the congregation, during
certain evening programs. Ms. Cleveland would offer to pay us for it but Suzie turned it down
because “it was our responsibility.” We were no older than 4 and 5. People made such a big
deal over our singing that we sort of enjoyed the attention. The church permeates almost
every aspect of black culture. You learned how to dress in church. We always wore our
Sunday best and took cues from the deacons and the minister who wore suits from the ‘50s and

20

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 61 of 70

‘60s; they didn’t make bad suits in those days. You learned how to conduct yourself in church.
Mark and I were required to sit up straight, remain quiet and pay attention to the sermon ...

We even debated in school over whose church was better. The arguments were mainly with the
kids from the town of Farmville, who attended Race Street or First Baptist. Race Street was
made up of working-class African Americans while First Baptist was more for the upper class.
The Reverend Francis L. Griffin, the famous civil rights activist who helped fight for school
integration in Prince Edward, was the minister at First Baptist. It was blasphemous to even
speak his name in a manner that could be construed as negative ...

Attending Mercy Seat was a rite of passage. Uncle Jesse (Gramma’s brother) picked us up
every Sunday at 9:45 a.m. for 10 o’clock Sunday school. I was always glued to the television
watching Paul Hornung and Vin Scully narrate Notre Dame’s football games. I had to race out
of the house at the last minute behind Mark and Thomas. Mercy Seat was full of experts who
could apply lessons from the Bible to everyday life. Any difficult questions that came out of
Sunday school could be taken up with Reverend Spragues just before church started at 11 a.m.

Pages 25-26

(XXXVIII) Black people, both free and
enslaved, relied on their faith to hold onto
their humanity under the most inhumane
circumstances.

In 1787, the Rev. Richard Allen and other
black congregants walked out of services at
St. George’s Methodist Episcopal Church in
Philadelphia to protest its segregated
congregations.

Essay By Mary Elliott, Jazmine Hughes

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parts of the African-American existence in
this country. We were actually affiliated with
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P.25

(XXXIX) For communities of free people of
color, churches like Allen’s were places not
only of sanctuary but also of education,
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providing resources to navigate a racist
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successors connected the community, pursued
social justice and helped guide black
congregants as they transitioned to freedom.
Essay By Mary Elliott, Jazmine Hughes

The church permeates almost every aspect
of black culture. You learned how to dress
in church. We always wore our Sunday best
and took cues from the deacons and the
minister who wore suits from the ‘50s and
‘60s; they didn’t make bad suits in those days.
You learned how to conduct yourself in
church.

P.25

Mass Incarceration:

Below is a snippet from Shock Exchange

21

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 62 of 70

Before quantifying the black tax — unemployment and incarceration — I would
expect to see a sharp rise in unemployment starting in the late 1970s and early
1980s as the U.S. manufacturing base began to erode. Black men worked their
way into middle class status by traveling to northern cities and California where
manufacturing jobs were in abundance. The decline in U.S. manufacturing has
hurt the economy overall, but African Americans especially. The inverse of this
conclusion is that black men, for whatever reason, have been less successful in
transitioning from the manufacturing sectors to the service sectors of the
economy.

The above chart illustrates the employment-to-population ratio by sex and race,
and measures the proportion of the population employed. This may be a better
proxy for the true employment picture. The employment-to-population ratio for
African-American men in 2010 was 53.1%, as compared to 65.1%, 67.5% and
68.0% for white, Asian and Hispanic men, respectively. Prior to seeing the data ]
would have expected a sharp decline in the ratio for black males starting in the
mid-80s as the country’s manufacturing base began to erode. However, the
figures were relatively unchanged in 1980 (60.4%) and in 2000 (60.2%), yet fell
precipitously by 2010. It reiterates the adage that “when America catches cold,
black America catches pneumonia.”

There was no noticeable difference in the employment-population ratio amongst
women from different racial groups. Overall, the employment-to-population ratio
for all women has increased since the early 1970s as more women have entered
the workplace. Yet the differential in the ratio between black women and black
men is the smallest vis-a-vis other ethnic groups. For instance, in 2010 the
differential in the ratio between black men and black women (1.6%) was much
less than that of whites (11.1%), Asians (14.5%) and Hispanics (10.4%). The
differential may be symptomatic of a U.S. service economy more comfortable
with black women in the workplace.

The rate of incarceration also reflects the additional costs of being black in
America. One could say that unemployment and incarceration rates are linked in
that one (high unemployment) leads to crime and ultimately, incarceration. The
abnormally high rate for African Americans is a known truth in the black
community. After doing some research, I found that the U.S. has the highest
incarceration rate of any country in the “free world.”

The U.S. incarceration rate has increased from 200 per 100,000 U.S. residents in
the mid-90s to 743 per 100,000 residents in 2010. The incarceration rate is a
function of admissions, times length of stay. Simply based on the number of
admissions per capita, the U.S. would not be the world’s largest jailor. The U.S.
prison policy, highly affected by mandatory drug sentencing, has a higher length
of stay relative to the rest of the world. Critics have also blamed the so-called
“war on drugs” for the abnormally high incarceration rate of African-American
males (4,797 per 100,000 U.S. residents) as compared to that of white males (708
per 100,000 U.S. residents). Even more damning is the fact that a high percentage
of white males are incarcerated in local jails with shorter stays, causing less of a

22

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 63 of 70

disruption for their families. In contrast, the majority of black males are jailed in
federal prison with longer stays — a phenomenon that has practically ravaged the
black family. Instead of reducing the level of violent crime in America, the war
on drugs has resulted in a frequent number of arrests for low-level drug
transactions and non-violent offenders; about 50% of the U.S. prison population
represents non-violent crimes. Nor will it ever reduce drug trafficking.

Senior year, Dr. Hendley presented us with a case involving a town with an
exploding population of dogs. The town manager had a dilemma — to control the
population by either spading male dogs or female dogs. The logical answer
would be to spade the male dogs, since they were the “obvious” culprits.
However, if the ratio was 10 female dogs per 10 male dogs and he spaded as
many as six male dogs, the remaining four could still service 10 female dogs.
Instead, the town manager spaded the female dogs and the dog population
decreased proportionately. To that point, attempting to “spade” drug dealers does
not have the same impact on the drug trade as spading the user through
incarceration, treatment, or education. In no way am I attempting to dissect the
criminal justice system, but simply presenting data that supports what Grandma
always knew — if you are black in America, odds are you are going to the pen.

Page 52 - 54

(XL) The United States has the highest rate | U.S. has higher incarceration rate of any
of incarceration of any nation on Earth: country in the free world.

We represent 4 percent of the planet’s
population but 22 percent of its imprisoned. | Shock Exchange included a chart of the U.S.
at 743 per 100,000 residents and its closest-

Essay By Bryan Stevenson to-scale competitors, Rwanda (595), Russia
(568), Georgia (547) and U.S. Virgin Isles
(549),

(XLJ) In the early 1970s, our prisons held U.S. incarceration rate increased 200 per

fewer than 300,000 people; since then, that 100,000 U.S. residents in the mid-90s to 743
number has grown to more than 2.2 million, | per 100,000 residents in 2010.
with 4.5 million more on probation or parole.

Essay By Bryan Stevenson
(XLID Because of mandatory sentencing The U.S. prison policy, highly-affected by
and “three strikes” laws, I’ve found myself mandatory drug sentencing, has a higher

representing clients sentenced to life without | length of stay relative to the rest of the world.
parole for stealing a bicycle or for simple
possession of marijuana. And central to
understanding this practice of mass
incarceration and excessive punishment is the
legacy of slavery.

Essay By Bryan Stevenson

23

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 64 of 70

(XLIVD And central to understanding this
practice of mass incarceration and excessive
punishment is the legacy of slavery.

Essay By Bryan Stevenson

Shock Exchange implies mass incarceration
driven by desire to stock drug trafficking. Nor
will it (incarceration) ever reduce drug
trafficking.

(XLIV) Because of mandatory sentencing and
“three strikes” laws, I’ve found myself
representing clients sentenced to life
without parole for stealing a bicycle or for
simple possession of marijuana.

Essay By Bryan Stevenson

Instead of reducing the level of violent crime
in America, the war on drugs has resulted
in a frequent number of arrests for low-
level drug transactions and non-violent
offenders; about 50% of the U.S. prison
population represents non-violent crimes.

(XLV) During Reconstruction, the
emergence of black elected officials and
entrepreneurs was countered by convict
leasing, a scheme in which white
policymakers invented offenses used to target
black people: vagrancy, loitering, being a
group of black people out after dark, seeking
employment without a note from a former
enslaver.

Essay By Bryan Stevenson

In the late 1880s Virginia politics was ruled.
by the Readjuster Party, which took
advantage of blacks’ growing power in the
general assembly ... By the time William
Cameron was elected governor from the
Readjuster Party in-1882, three state
senators and 11 delegates were Biack.

PO

(XLVD During Reconstruction, the
emergence of black elected officials and
entrepreneurs was countered by convict
leasing, a scheme in which white
policymakers invented offenses used to target
black people: vagrancy, loitering, being a
group of black people out after dark,
seeking employment without a note from a
former enslaver.

New language has emerged for the noncrimes
that have replaced the Black Codes: driving
while black, sleeping while black, sitting in
a coffee shop while black. All reflect
incidents in which African-Americans were
mistreated, assaulted or arrested for conduct
that would be ignored if they were white.

Essay By Bryan Stevenson

California has always had an image as being
the “Sunshine State,” offering limitless
possibilities. However, [ had also heard
rumblings of police brutality and racial
profiling. Former Oakland Raiders running
back, Marcus Allen, had gotten stopped so
often while driving his Lamborghini that he
had to get a special license plate ...

African Americans in Southern California had
complained publicly for years about police
brutality ...

P45

24

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 65 of 70

EXHIBIT C

The following dissections describe how Ms. Hannah-Jones copied Plaintiff's arrangement of

words:

It Is Time For Reparations - NHJ

Shock Exchange

(I) It feels different this time. Black
Americans protesting the violation of their
rights are a defining tradition of this country,
In the last century, there have been hundreds
of uprisings in black communities in
response to white violence. Some have
produced substantive change. After the
assassination of the Rev. Dr. Martin Luther
King Jr. in 1968, uprisings in more than 100
cities broke the final congressional deadlock
over whether it should be illegal to deny
people housing simply because they
descended from people who had been
enslaved. The Fair Housing Act, which
prohibits housing discrimination on the basis
of race, gender and religion, among other
categories, seemed destined to die in
Congress as white Southerners were joined
by many of their Northern counterparts who
knew housing segregation was central to how
Jim Crow was accomplished in the North, But
just seven days after King’s death, President
Lyndon B. Johnson signed the act into law
from the smoldering capital, which was still
under protection from the National Guard.
Most of the time these uprisings have
produced hand-wringing and consternation
but few necessary structural changes. After
black uprisings swept the nation in the mid-
1960s, Johnson created the Kerner
Commission to examine their causes, and the
report it issued in 1968 recommended a
national effort to dismantle segregation and
structural racism across American
institutions. It was shelved by the president,
like so many similar reports, and instead
white Americans voted in a “law and
order” president, Richard Nixon. The
following decades brought increased police

Whenever someone broke one of her rules
you knew the penalty — the switch. She
would make you go into the woods and pick
your own. Now there was a strategy to this.
The bigger the switch, the more stable it was,
the more it would hurt, and the longer the
beating would last. However, if you did not
get a big enough switch Grandma would
have Mr. Allen, the man she remarried later
in life, go get one. And he would come back
with an entire tree branch. Once my cousin
returned with the switch, Grandma would
examine it for length, thickness, and
flexibility. Mr. Allen would add his two
cents and no matter how long or thick the
switch was, he always felt it was inadequate.
Once the switch had passed inspection, the
beating would begin. After hearing (never
seeing) what took place next, that was the best
advertisement Grandma needed as to what
happened when you crossed her.

One way to avoid the switch was to keep
Grandma in a good mood. P.15

Case 1:24-cv-08760-JMF

Document 1

Filed 11/16/24 Page 66 of 70

militarization, law-enforcement spending
and mass incarceration of black Americans.

Pages 3-4

Essay by N. Hannah-Jones

(if) The changes we’re seeing today in some
ways seem shockingly swift, and in other
ways rage-inducingly slow. After years of
black-led activism, protest and organizing,
the weeks of protests since George Floyd’s
killing have moved lawmakers to ban
chokeholds by police officers, consider
stripping law enforcement of the qualified
immunity that has made it almost impossible
to hold responsible officers who kill, and
discuss moving significant parts of
ballooning police budgets into funding for
social services. Black Lives Matter, the group
founded in 2013 by three black women,
Patrisse Khan-Cullors, Alicia Garza and Opal
Tometi, after the acquittal of Trayvon
Martin’s killer, saw its support among
American voters rise almost as much in the
two weeks after Floyd’s killing than in the
last two years. According to poiling by
Civias, more than 50 percent of registered
voters now say they support the movement.
The cascading effect of these protests has
been something to behold. The commissioner
of the N.F.L., which blackballed Colin
Kaepernick for daring to respectfully protest
police brutality, announced that the N.P.L.
had, in fact, been wrong and that black lives
actually do matter. (Kaepernick, on the other
hand, still has no job.) HBO Max announced
that it would temporarily pull from its roster
the Lost Cause propaganda film “Gone With
the Wind” — which in classically American
fashion holds the spot as the highest-grossing
feature film of all time. NASCAR came to the
sudden realization that its decades-long
permissiveness toward fans’ waving the battle
flag of a traitorous would-be nation that
fought to preserve the right to traffic black
people was, in fact, contrary to its

Whenever someone broke one of her rules
you knew the penalty — the switch. She
would make you go into the woods and pick
your own. Now there was a strategy to this.
The bigger the switch, the more stable it was,
the more it would hurt, and the longer the
beating would last. However, if you did not
get a big enough switch Grandma would
have Mr. Allen, the man she remarried later
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with an entire tree branch. Once my cousin
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One way to avoid the switch was to keep
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Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 67 of 70

“commitment to providing a welcoming and
inclusive environment for all fans, our
competitors and our industry.” Bubba
Wallace, the only full-time black driver at
the sport’s top level, who had called on
NASCAR to make the move, drove victory
laps in an all-black stock car emblazoned with
the words “#BLACKLIVESMATTER.”

Pages 4-5

Essay by N. Hannah Jones

The following analytical dissection illustrates substantial similarity between the arrangement of
words in Ms. Hannah-Jones’ dissection and the “switch scene” from Shock Exchange. The
dissection shows (i) the top five most-repeated words and (ii) the next-four most repeated words.

"Switch Arrangement" - Cmplt. Ex: C {lL

ag

5 Mast Frequent Words Tatal Occurrence Density
Source: Ralph W. Baker, Jr.

# Time For Reparations = Shock Exchange

Case 1:24-cv-08760-JMF Document1 Filed 11/16/24 Page 68 of 70

“Switch Arrangement" - Cmplt. Ex: C 1
15

Next4 Mast Repeated Wores Total Occurrence Density
Source: Ralph W. Baker, jr.

Time For Reparations Shack Exchange

"Switch Arrangement" - Cmplt Ex: C 4 i

5 Most Frequent Words Total Gccurrerice Density
Source: Ralph W. Baker, Ir.

@ Time For Reparations © Shock Exchange

"Switch Arrangement" - Cmplt Ex: C 4]

46 oa:
245

Next Four Most Repeated Total Occurrence Density
Wards

Source: Ralph W. Baker, Jr.

Time For Reparations Shack Exchange

Page 70 of 70

led 11/16/24

F

Document 1

08760-JMF

24-cv-

Case 1

